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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
IN ADMIRALTY

GREAT LAKES INSURANCE SE,

Plantation Place : CASE NO.
30 Fenchurch Street :

London EC3M 3AJ

United Kingdom

Plaintiff,
Vs.
RAIDERS RETREAT REALTY
CO., LLC
P.O. Box 549
Abington, PA 19001

Defendant.

COMPLAINT FOR DECLARATORY JUDGMENT

COMES NOW the Plaintiff, GREAT LAKES INSURANCE SE, by and through its

undersigned attorneys, and for its Complaint seeking this Court's Declaratory Judgment would

respectfully state as follows:

JURISDICTION AND VENUE

1. This is an action for declaratory relief pursuant to Title 28 of the United States Code,

sec. 2201 et seq, in that a present controversy exists between the parties hereto in which the Plaintiff

asks this Court to adjudicate and determine the rights of the parties to a contract of marine insurance

which is in dispute.
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a Venue lies within the Eastern District of Pennsylvania as this cause arises out of a
policy of marine insurance delivered by Plaintiff to the Assured named therein, the Defendant
RAIDERS RETREAT REALTY CO., LLC, alleged to be located at PO Box 549, Abington, PA
19001, USA.

oy This is an admiralty and maritime cause within the meaning of Rule 9(h) of the
Federal Rules of Civil Procedure, and this Court has jurisdiction pursuant to Title 28 of the United
States Code, sec. 1333.

4, Plaintiff, GREAT LAKES INSURANCE SE, (hereinafter “GREAT LAKES”) is a
corporation organized and existing under the laws of the United Kingdom, with its office and
principal place of business located in the United Kingdom, in the City of London.

> Upon information and belief, the Defendant RAIDERS RETREAT REALTY CO.,
LLC (hereinafter “RAIDERS”) is a limited liability company organized and existing under the laws
of the State of Pennsylvania and is a citizen of the State of Pennsylvania.

FACTUAL ALLEGATIONS

6. On or about October 25, 2007, the Defendant “RAIDERS” submitted to the Plaintiff,
via Defendant’s agent, an application for a policy of marine insurance. Such a submission was a
routine aspect of the Plaintiff's procedure for considering whether to agree to provide insurance
coverage regarding a 1988 70 ft Viking vessel with Detroit twin 900 hp diesel engines which was

alleged to be owned by the said Defendant.
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7. A true and correct copy of the said application form completed and signed by
Defendant, and submitted to Plaintiff on or about October 25, 2007 by and on behalf of the
Defendant’ by its agent is attached hereto as Exhibit “A.”

8. In reliance upon the material facts disclosed in Exhibit “A,” Plaintiffagreed to issue a
policy of marine insurance to the Defendant “RAIDERS.”

9. Plaintiff agreed to renew the coverage afforded to the Defendant under the original
policy of marine insurance for every following year thereafter up to and including 2018.

10. At the time of the renewal for the 2016-2017 policy, the Defendant submitted via its
agent a Renewal Questionnaire, a Marine Survey, and a Letter of Survey Recommendations
Compliance.

11. A true and correct copy of the Renewal Questionnaire, dated September 30, 2016 is
attached hereto as Exhibit “B.”

12. A true and correct copy of the Marine Survey submitted to the Plaintiff by the
Defendant’s agent, dated October 18, 2016 is attached hereto as Exbibit “C.”

13. At Page 26 of the Marine Survey dated October 18, 2016, under the heading
FINDINGS & RECOMMENDATIONS, it is stated

Priority 1 recommendation:

*Halon system, service and date tag.
*F ire extinguishers, purchase and store aboard.
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14. _ A true and correct copy of the Letter of Survey Recommendations Compliance
submitted to the Plaintiff by Defendant’s agent, dated October 26, 2016 is attached hereto as Exbibit
“Dy”

15. In reliance upon the material facts disclosed in the Renewal Application, the Marine
Survey and the Letter of Survey Compliance Recommendations Compliance, Plaintiff agreed to issue
a policy of marine insurance for the period from November 5, 2016 through November 5, 2017.

16. __Incontinued reliance upon the material facts disclosed in the Renewal Application,
the Marine Survey and the Letter of Survey Compliance Recommendations, the Plaintiff agreed to
renew the coverage afforded to the Defendant for the period from November 5, 2017 through
November 5, 2018.

17. Via their agents, the Defendant “RAIDERS” sought to again renew for the existing
policy of marine insurance for the period from November 5, 2018 through November 5, 2019 for the
1988 70 ft Viking vessel with Detroit twin 900 hp diesel engines which was alleged to be owned by
the Defendant.

18. As part of Plaintiff's requirements and routine procedures for renewal polices,
Plaintiff required submission of a Renewal Questionnaire only.

19. A true and correct copy of the renewal application dated October 10, 2018 is attached
hereto as completed and signed by Defendant, and submitted to Plaintiff on or about October 8, 2018

by and on behalf of the Defendant’ by its agent is attached hereto as Exhibit “E.”
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20. In reliance upon the most recent Renewal Application, and in continued reliance upon
the material information disclosed in the Marine Survey and in the letter of Survey Compliance
Recommendations, Plaintiff agreed to issue a policy of marine insurance affording Hull & Machinery
coverage in the amount of $550,000.00 on the vessel which was alleged to be owned by the said
Defendant based upon the representations set forth in, and the material information disclosed in the
documents which are attached hereto as Exhibit “A,” “B,” “C,” “D,” and “E.”

21. A true and correct copy of Plaintiff's Policy No. CSRYP/171163 affording coverage
in the amount of $550,000.00 for the period from November 5, 2018 through November 5, 2019 on
the 1988 70 ft Viking vessel with Detroit twin 900 hp diesel engines which was alleged to be owned
by the said Defendant is attached hereto as Exhibit “F.”

22. On or about June 7, 2019, it is alleged by the Defendant that the vessel insured under
Plaintiffs Policy No. CSRYP/171163 was involved in an incident in which it sustained damage due
to having run aground, which incident is alleged to have occurred in the vicinity of Fort Lauderdale,
Florida.

23. Upon receipt of notice of the loss referenced herein, Plaintiff caused an investigation
to be made into the facts and circumstances surrounding the said incident.

24.  Asaresult of the investigation referenced herein, the Plaintiff established that at the
time of the incident of June 7, 2019, the vessel’s fire extinguishers had not been recertified or
inspected as represented by the Defendant.

25.  Asaresult of the investigation referenced herein, the Plaintiff established that the
recommendations set forth in the October 18, 2016 survey which was submitted at the time of the

submission of the 2016 renewal, which recommendations were represented as having been
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completed in the Letter of Survey Recommendations Compliance were not in fact completed.

26. Notwithstanding the facts established by Plaintiff s investigation, Defendant has made
a claim against the Plaintiff under the terms of Policy No. CSRYP/171163 demanding
indemnification for the full extent of the damages which it is alleged to have been sustained by the

vessel which was insured under the terms of the said policy.

FIRST CAUSE OF ACTION

27. Plaintiff repeats and realleges each and every allegation set forth in Paragraphs 6
through 26 as if set forth fully herein.

28. Plaintiff's policy states, in pertinent part:

9. General Conditions & Warranties

OR CK

d) This insuring agreement incorporates in full your
application for insurance and it constitutes the entire
contract between us. At your request, various pro-
visions of this insuring agreement may be varied by
us but only by our prior written agreement.

eK KK

n) This contract is null and void in the event of non-
disclosure or misrepresentation of a fact or circum-
stances material to our acceptance or continuance of
this insurance. No action or inaction by us shall be
deemed a waiver of this provision.

29. The Defendant breached the provisions of Plaintiff's policy set forth above by
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misrepresenting or by failing to disclose facts and/or circumstances which were material to the
Plaintiffs decision to accept and/or to continue the risk of insuring the 1988 70 ft Viking vessel with
Detroit twin 900 hp diesel engines alleged to have been owned by the Defendant.

30. The Defendant misrepresented and/or failed to disclose the material facts with regard
to work and/or repairs and/or maintenance alleged to have been completed, as referenced in the
attached Letter of Survey Recommendations Compliance.

31, Had the Defendant disclosed the material facts or circumstances referenced herein, the
Plaintiff would not have agreed to issue its Policy No. CSRYP/171163, or would have issued a
different policy, or would have charged a higher premium for the policy.

32. The Defendant’s misrepresentation or failure to disclose material facts or
circumstances constitutes a breach of the duties imposed upon the Defendant by the express terms
of the policy and under the applicable principles of federal maritime law.

33. Defendant’s breach of the policy renders the said policy void ab initio and/or entitles
the Plaintiff to rescind the policy.

34. Notwithstanding the lack of any coverage under the Plaintiffs policy of marine
insurance, the Defendant has made demand upon Plaintiff for payment of damages as set forth in the
said policy.

3) As a result of the aforesaid lack of coverage under the terms of Plaintiff's policy of
marine insurance attached hereto, Plaintiff has sustained actual prejudice and seeks this Court’s
declaratory judgment regarding the coverage afforded under the terms of Policy No.

CSRYP/171163. Until such time as the Plaintiff is able to have its rights and responsibilities

construed by this Court, Plaintiff will suffer uncertainty with respect to its responsibilities and
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obligations under the terms of the said policy.

36. Asaresult of the Defendant’s demands for payment under the terms of the attached
policy of marine insurance, and as a result of the lack of any coverage for the alleged grounding
or theft of the vessel under the facts and circumstances described herein, a real and justiciable issue
exists with respect to the existence of valuable rights under the terms of the policy of marine
insurance, and a bona fide, actual and present dispute exists calling for this Court’s declaratory

judgment.

SECOND CAUSE OF ACTION

37. Plaintiff repeats and realleges each and every allegation set forth in Paragraphs 6
through 26 as if set forth fully herein.
38. Plaintiffs policy states, in pertinent part:

9. General Conditions & Warranties

OK

k) If the Scheduled Vessel is fitted with fire extinguishing
equipment, then it is warranted that such equipment is
properly installed and is maintained in good working
order. This includes the weighing of tanks once a year,
certification/tagging and recharging as necessary.

39. As stated herein the investigation conducted by the Plaintiff established that the

Defendant had not complied with the express warranty referenced herein and since the vessel’s fire
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extinguishers had not been recertified and/or inspected and therefore the Defendant breached the
express warranty set forth in Policy No. CSRYP/171163.

40. The condition of the vessel’s fire extinguishers was contrary to the express warranty
in the policy of marine insurance, the Defendant was in direct violation of the said express warranty
set forth in Plaintiff's policy of marine insurance and therefore was in breach of the duties imposed
upon the Defendant by the express terms of the Plaintiff's policy.

41. The Defendant’s breach of the express warranty set forth in the Plaintiffs policy of
marine insurance renders the said policy void ab initio and/or entitles the Plaintiff to declare the said
policy void.

42. The Defendant’s breach of the warranty set forth in the Plaintiff's policy of marine
insurance permits the Plaintiff to avoid liability for the costs of repairing or replacing the vessel as a
result of the incident of June 7, 2019.

43. | Notwithstanding the said breach of an express warranty and the lack of any coverage
under Plaintiffs policy of marine insurance, the Defendant has made demand upon Plaintiff for
payment of an amount equal to the full amount necessary to effect repairs to, or in the alternative, to
replace, the vessel insured under the terms of the said policy of marine insurance.

44. As aresult of the Defendant’s breach of an express warranty and the aforesaid lack of
coverage under the terms of the terms of the policy attached hereto, the Plaintiffhas sustained actual
prejudice and seeks this Court's Declaratory Judgment regarding the coverage afforded under the
terms of Policy No. CSRYP/171163. Until such time as the Plaintiff is able to have its rights and
responsibilities under the marine insurance policies construed by this Court, Plaintiff will suffer

uncertainty with respect to its responsibilities and obligations under the terms of the said policies.
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45. As aresult of the Defendant’s demands for payment under the terms of the policy of
marine insurance attached hereto, and as a result of the lack of any coverage for the loss under the
facts and circumstances described herein, a real and justiciable issue exists with respect to the
existence of valuable rights under the terms of the policies of marine insurance, and a bona fide,

actual and present dispute exists calling for this Court's Declaratory Judgment.

WHEREFORE, Plaintiff demands judgment from the Court:

(A) Declaring that the relationship of insurer and insured does not exist between Plaintiff
and Defendant “RAIDERS” as regards the incident in which the insured vessel was damaged;

(B) Declaring that Plaintiff's Policy No. CSR YP/171163 does not afford coverage to the
Defendant “RAIDERS” for the incident in which the insured vessel was damaged;

(C) Declaring that Plaintiff's Policy No. CSRYP/171163 excludes coverage to the
Defendant for the incident in which the insured vessel was damaged;

(D) Declaring that any coverage afforded under Plaintiff's Policy No. CSR YP/171163 is
void from the inception due to Defendant’s breach of warranty;

(E) Declaring that Defendant’s misrepresentations of and/or failure to disclose facts
material to the Plaintiff's acceptance or continuance of the risk voids the Plaintiff's Policy No.
CSRYP/171163 ab initio and allows the Plaintiff to rescind the said policy;

(G). Any and all such other and further relief as the Court may deem proper and

appropriate in the premises.

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Dated: September *Y, 2019

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Attorneys for Plaintiff

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Philadelphia, PA 19103

Tel (215) 587-9400

Fax (215) 587-9456

Boos CF dar

GEORGE R. ZACHARKOW, ESQ.

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Tel (954) 356-0460

Fax (954) 832-0878

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Exhibit
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Page 1 of 4 ATLASS SPECIAL RISKS, INC.
YACHT/CHARTER BOAT APPLICATION
www.atlassspecialrisks.com ;
N SUREDS NAME ~ INSUREDS DOE NAME
PRILLIP PULLEY FEBRUARY 2, 10g9 "RORUCERNA JONES FESS
SENEFICIAL (REQUIRED IFPOLICY 35 IN A COMPANY NAME)
Raees Rereeat ReaTy CO, LLe
SOLE MAILING ADDRESS:

RADIO | *|
5000 SAINAY
bi ep
7 [ene
Se
1000 agp ANTETHERT 7
eee | OR}
Tao tao LORAN] 7
CREW LIAB try DIRECTION
FINDER
“tee |_| nooner f*} ———
COMMERCIAL
PASSENGER
: Too too

eI

Ay

HOUSEBOAT

LIABILITY
NINSORED
BOATERS

BREACH OF
WARRANTY (FoR
98S PAYEE ONLY)

MAX SPEED AULL DENTIBICATION NO:
700,000 2) KNTS VICY7OLNL BEAR

MAIN MOORINGSTORAGE LOCATION

(FULL ADDRESS):
SS 2319 NE zSKTh &
LiGWE WY supe. Pork T FUR Zope

THEFT PRECAUTIONS: ~
Tm Sythe. ed ato
1D S46

Wwe

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Page 2 of 4 ATLASS SPECIAL RISKS, INC.

YACHT/CHARTER BOAT APPLICATION
www.atlzasspecialrisks.com

QEGOIS2SR

ERS OR DINGHIES; 2007 YAMAHA (PERSONAL WATER ODEL:.VX150 HULL ID wumepen(®),
“NON SR Aine Bisse Ha Ve ede Qt ee ge Oh A MOROE a1
WATERS TO BE NA (YOU MAY ATTACH AN ITINERARY- PLEASE NOVE EXTENDED NAVIGATION REQUIRES SUPPLEMENTARY
SHEET): EAST COAST US, FLORIDA & BAHAMAS NOT EXCEEDING 150 MILES OFFSHORE AND NOT SOUTH OF THE TROPIC OF CANCER

(23.5 DEGREES N. LAT.)

» 3 LOCATION JULY 1" -NOV 157 (INCLUDING CO-ORDINATES IF KNOWN)

weit hanes pose a. WIE OH. HEN Ge 6S 24.00 W
ENGINE, 0

ENG ART MOTOR INFORMATION — __
ENG H.P, GASOLINE DIESEL YEAR DATEFPURCHASED | PURCHASE PRICE PRESENT VALUE
1 906 x 1988 |
? 900 x 1988
3
MANUFACTURER/MODEL SERIAL NUMBER
DETROIT 12VA81910
DETROIT T2VA81979
STE VESSELS SE
ARB VBSEELEAST SURVEYED eee FIAS SURVEY BEEN SUPPLIED TO UNDERWRITER: Y/N
TRAILER INFORMATION YEAR DATE PURCHASED PURCHASE PRICE PRESENT VALUE
WANUFACTURER/MODEL: SERTAL NUMBER:

5PERATORS (ALWAYS LIST INSURED AS OPERATOR #1) ALL OPERATORS MUST BE DETAILED ~ USE SEPARATE SHEET JP NECESSARY
fLEASE NOTE THIS OPERATORS INFORMATION CONSISTS OF THREE PARTS (A, B & C)

A NAME D.OB. STATE OF RESIDENCE VIOLATIONS/SUSPENSIONS
__| (INCLUDING AUTO) IN LAST 5 YEARS
i_| PHILO POLLEY 02/02/62 PA Norn
2_| ANTHONY CHARLIE PASTOR 07/13/83 ; ‘S pol
3
B BOATING QUALIFICATIONS YEARS OF BOAT YEARS GF BOATING
OWNERSHIP EXPERIENCE
1 | USCG ADX a 30 30+
2 Tesinedl e Reet woperwiun 7
5 iA c
a U a a opps DETAILS OF PREVIOUS VESSELS OWNED
1 (Oct Dot - PZESENT. Al : WILIS So! Wrvyes
INFORMATION - IF YOU ANSWER ‘YES‘ TO ANY OF THE QUESTIONS BELOW PLEASE GIVE FULL DETAILS ON NEXT PAGE
# YES NO # YES | NO
1 | ISTHE BOAT CHARTERED TO OTHERS WITH xX 6 | ISTHE BOAT USED COMMERCIALLY OR FOR K
CAPTAIN? BUSINESS PURPOSES?
2 | ISTHE BOAT CHARTERED TO OTHERS x 7 | WiLL THE VESSEL BE OPERATED SINGLE X
__ | WITHOUT CAPTAIN? HANDED AT NIGHT?
3 | WILL THE VESSEL BE USED FOR RACING x 8 | HAVE YOU OR ANY NAMED OPERATOR BEEN | X
DURING THE POLICY PERIOD? INVOLVED IN A MARINE LOSS IN THE LAST 10
=! YEARS (INSURED OR NOT)?
4 | IS THE BOAT USED FOR WATER SKIING OR x 9 | WAS ANY INSURANCE DECLINED, CANCELLED | X
DIVING WHETHER OR NOT VEESSEL IS OR NON-RENEWED IN THE LAST 5 YEARS?
OPERATED COMMERCIALLY
3 | IS THE BOAT USED FOR FARE PAYING x 10 | DOES THE APPLICANT EMPLOY PAID CREW? X
PASSENGERS? IF YES: .
WHAT 5S THE NUMBER OF PASSENGERS PER | MAX | AVG IF SO, HOW MANY? ONEFULL TIME CREW
TRIP (MAXIMUM & AVERAGE)
NUMBER OF TRIPS PER YEAR 11 | DOES ANYONE RESIDE ABOARD THE 4

<L a lboard
80 ope s\n ree

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Page 3 of 4 ATLASS SPECIAL RISKS, INC.

YACHT/CHARTER BOAT APPLICATION |
www.atlassspeciatrisks.com

GUIDANCE NOTES;
1 15 THE BOAT CHARTERED TO OTHERS WITH CAPTAIN? Please complete suppiemeniary sheet |
CAPTAIN CHARTER |
2 IS THE BOAT CHARTERED TO OTHERS WITHOUT CAPTAIN? Flease complete supplementary shect |
BAREBOAT CHARTER
3 WILL THE VESSEL BE USED FOR RACING DURING THE POLICY Please complete supplementary sheet |
|| PERIOD? RACING |
6 15 THE BOAT USED COMMERCIALLY OR FOR BUSINESS PURPOSES? | Please detail usage ixt Information Box '
below i
WW | DOES THE APPLICANT EMPLOY PATD CREW? Please complete supplementary sheet

CREW.

INFORMATION (If THIS SPACE IS NOT SUFFICIENT PLEASE NOTE BELOW AND USE A SEPARATE SHEET):

CREATIONAL DIVING
CTOBER 24, 2005 HURRICANE WILMA PAID $150,000
#9: INAMAR NON RENEWED DUE TO VESSEL BEING MOORED IN FLORIDA 12 MONTHS A YEAR

» PLEASE READ BEFORE SIGNING APPLICATION |

1. This application will be incorporated in its entirety into any relevant policy of insurance where
insurers have relied upon the information contained therein.
2. Any misrepresentation in this application for insurance will render insurance coverage null and

void from inception. Please therefore check to make sure that all questions have been fully
answered and that all facts material to your insurance have been disclosed, if necessary bya
supplement to the application.

3. A photograph of the vessel is required to be submitted with this application.

4, Fraud Statement - please see page 4 of this application form & initial the paragraph relevant to
you to indicate that you have read and understood thie.

PRINT NAME & STATE YGUR CONNECTION TO THIS SIGNATURE DATE:
POLICY IF YOU ARE NOT THE NAMED

INSURED/BENEFICIAL OWNER

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Exhibit
«“R”
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CONCEPT

SPECIAL RISKS

Renewal Questionnaire

364629A
CSRYP/153294

Quote Number:

Previous Policy:

Next Policy Peried: = November 5, 2016 to November 5, 2017
Assured: Raiders Retreat Realty Co., Lc
Assured’s Address: PO Box 549, Abington, PA 19901, USA

Scheduled Vessel:
VKY70101B888

Cover and Respective Insured Limits:

Currently

Raiders, 1988 70’ Viking with Detroit Twin 900np diesel engine,

section cai ae pwerae ——
A Hull US$ 550,000 US$ 550,000
Hull Deductible US$ 33,000 US$ 33,000
| Tender/Dinghy US$ 9,000 | US$ 9,000 ~
Non-Emergency Towing US$ 500 US$ 500
Breach of Warranty nol covered not covered
eB Third-Party Liability cttCSd US$ 1,000,000 | US$ 4,000,000
Crew Liability Extension within CSL uS$ 7,000,000 | US$ 1,000,000
C Medical Payments USS 10,000 US$ 10,000
D Uninsured Scaters U53 550,000 US$ 550,000
— Trailer not covered nol covered
F Personal Property USS 5,000 US$ 5,000
Other (Please specify)
Residence. Will your vessel be your full-time residence during the next policy

pening?
Yes{/No_/
-_ —

Vanity Howe

7 Staten Court Slaton Real = Guneey

Toncept Special Risks {td
AS 1) 1909 B82 VU0 ee spetiabrisks 6 an

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United Kingitom
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Renewal Quesuonnutn page 7 Conrept Specs! Wisics Ltd

Surveys: Your next survey is due on November 5, 2076 and should be
performed out of the water (hauled).

Navigational Limits; Warranted that the Scheduled Vessel is confined (o Ease Coast
USA, Florida and the Gahamas - not to exceed 150 miles
offshore.

if you require different navigational limits io these, please detail
here or atiach an ninecary

Hurricane Mooring: Your vessel mvoring location during July 1st Lo November ist is
currently declared as 2319 NE 29th St, Lighthouse Polnt, Fi
33064, USA, 26.267911 -80.091434, {f this is incorrect please detall
below, providing the full address, ZiP/pastal code and longitude/
latitude readings of the new mooring location:

Will your vessel will be afloat or ashore during the hurricane
season?
(afloat) Ashore

Loss Payees: Your previous policy had the following loss payees: Assured. If you
need any adgitional loss payees, please name them here.

Operators: The four individuals detailed on the following pages are approved
by us to operate the Scheduled Vessel.

Please ensure all persons (including captains and crew) operating
che vessel during ihe policy period are listed in the following pages,
and that ail delails are complete, accurate and up to date. Delete
any operator no longer required.

Warning: This ls a named-anerator-onty policy,
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Renews! Questionnaire page 3 Cumepl Speriat Sroks | ir

Operator 1: Please ensure the details provided for Phiiip Pulley are complete,
accurate and up to date. If you are unsure what information to
provide, please contact your broker who wit be able lo assist you.
\f Philip Pulley no longer operates the Scheduled Vessel, piease
crass out the lable below.

Name Philip Pulley
Date of birth February 2, 1962
State of residence Pennsylvania, USA

Years of baat ownership a3
Years of boating experiance 45
Violations and suspensions (including auto) in the last five

years
None

Soating qualifications for which a valid licence ts heid
Various courses
Coast Guard Aux
Power Squadron
Sea Scout
Boat US

Detalts of previous vessels owmed and/or operated
70' Viking

21 Grady White

50° Uniflite

25' Seacrah

Operated:

112' West Port

118' Benetti

All losses in the past 10 years (whether insured or not),
Including payment amounts and current status
Hurricane Wilma- 24th October 2005- $153,000

Details of all criminal convictions and pieas of no contest
None

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Renews! Qucstionnzse page 4

Operator 2:

Cancept Special Rinks Lid

Please ensure the detalls provided for Kim Holt are complete,
accurate and up to date. If you are unsure what information to
provide, please contact your broker wna will be able to assist you.
if Kim Holt no longer operates the Scheduled Vessel, please cross
aut the table below.

Name Kirn Hott
Gate of birth january 24, 1954
State of residence Florida, USA

Years of boat ownership 48

Years of boating experience 52

Violations and suspensions {inctuding auto) in the last five
years
None

Boating quatifications for which a valid licence is held
Licensed captain 100 ton

Details of previous vessels owned and/or operated
30'-80' vessels

All losses in the past 10 years (whether insured or not),
Induding payment amounts and current stetus
Example: 2005, Hurricane Loss, $20,000 Paid, Closed

None

Details of ail criminal convictions and pleas of no contest
None

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Renews! Questionnaire page 5 Concep! Spectal Risis (td

Operator 3: Please ensure the details provided for Ruby Marrero are
complete, accurate and up to date. If you are unsure what
information to provide, please contact your broker who will be able
to assist you. If Ruby Marrero no fonger operates the Scheduled
Vessel, please cross out the tabie below.

Name Ruby Marrero
Date of birth january 1, 1975
State of residence Florida, USA

Years of boat ownership 8

Years of boating experlence 18

Violations and suspensions (including suta) In tie tart five
years
None

Goating quatifications for which a valid tence is held

Cuban Navy 7 years
Florida Safe Boating

Details of previous vessels owned and/or operated
50’ Military
250 Military

All losses In the past 10 years (whether insured or not),
including payment amounts and current status
Exampte: 2005, Hurricane Loss, $20,000 Paid, Clesed

None

Details of all criminai convictions and pleas of no contest
None

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Renewal Questionnaie page 6 Canrept Special Risks Lid

Operator 4: Please ensure the details provided for Benjamm Pulley are
complete, accurate and up to date, If you are unsure what
information to provide, please contact your broker who will be able
to assist you. If Benjamin Pulley no longer operates the Scheduled
Vessel, please cross out the table below.

Name Senjamin Pulley
Date of birth September 7, 1992
State of residence Pennsylvania, USA

Years of boat ownership 9
Years of boating experience 15

Violations and suspensions {including auto) in the last five
years
None

Boating qualifications for which a valid licence is held
Arida Boaters License

Details of previous vessels owned and/or operated
21' Grady White

38" Trojan

40’ Carver

&0' Hargrave

89 Ferretti

76 Mante Carlo

All tosses in the past 10 years (whether Insured or not),
induding payment amounts and current status
Example: 2005, Hurricane Loss, $20,000 Paid, Closed

None

Detalis of ati criminal convictions and pleas of no contest
None

Case 2:19-cv-04466-GEKP Document1 Filed 09/25/19 Page 23 of 82

Renewal Guesdionnaire page 7 Concept Special Risks Ltd

Operator 5: Below you may add an additional operator for approval by our
underwriters. if you wish ¢o add severai operators, please print and
submit as many copies of this page as required.

Neme

Date of birth

State of residence

Years of boat ownership

Years of boating experience

Violations and suspensions (including auto) In the last five
years

Boating qualifications for which a vaild licence Is held
Example: USG 100 Ton Licence

Details of previous vessels owned and/or operated
Example: 2005 40 ft Whitby Ketch, owned for & years

Afi losses in the past 10 years (whether insured or not),
including payment amounts and current status
Example: 2005, Hurricane Loss, $20,000 Paid, Closed

Detaits of afl criminal convictions and pleas of no contest

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Renewdl Questionnaire page & Concept Specal Hrsky (sd

Other Changes: When quoung your renewal, we have assumed that there nave
been no changes ta your policy during the current policy period. If
there are any other changes since your original application form
was subrnitted to us, please give details below. If you are unsure
whether any change might have an influence upon the quotation
that we have provided you with, please contact your broker for
advice.

Misrepresentations: Any misrepresentation in this renewal questionnaire will render
insurance coverage null and void from inception. Please therefore
check (o make sure that all questions have been fully answered
and that all facts material to your insurance have been disclosed, tf
necessary by a Suppl ni to this questionnaire.

Assured’s Signature:
—

Print Name: Su Vi | p “I | he

Date of Completion: _ “9 AG fe C7 L ,

For more information regarding Céncept Special Risks Lid, policy wordings. endorsement
wordings, standard forms and frequently asked queslions, please see our websile
ofipks ke.
Case 2:19-cv-04466-GEKP Document1 Filed 09/25/19 Page 25 of 82

Exhibit
“co”
Case 2:19-cv-04466-GEKP.. Dacument 1..Filed.09/25/19 Page 26 of 82
MARINE SURVEYORS & CONSULTANTS
618 NE 3° STREET
DANIA BEACH, FL. 33004

kerrynthulige me com Phone: 954 232 3416

REPORT OF MARINE SURVEY

INSURANCE CONDITIGN & VALUATION
Of the vessel

“RAIDERS”
1988 70° Viking Motor Yacht

PREPARED EXCLUSIVELY FOR:
Phi] Pulley
P.O. Box 549
Abington, PA. 19001

CONDUCTED BY:
Kerry Nikula SAMS. SA. ABYC. NFPA.

ON
October 18, 2016

Surveped for: Phil Puiley'— 1988 70’ Viking Motor Yacht “RAIDERS ™ Report file #: S085
Surveyed dy: Kerry Nikula, SAMS. SA. ABYC. NFPA. Page L of 27

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Case 2:19-Cv- OE PE ee ORY Ibe, CR LOMA wPage 27 of 84

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DOCUMENT / REGISTRATION PAGE os scsaesuavinviescenuaunsetip-ussnuntaareesecenneelt
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GENERAL (INFORMATION .........--.----2 5-2 reece renee evepueeaerennenmenre ts! cB
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INTERIOR .....cccccccccece eee eceteeecea eee cecee ease snes esute se nyseaeryeeyeteeteceeenayarn nner 12-14
MACHINERY ...ccccccccecee cee cceceees cece ese sun danwe red Sashaeaan a teeesees yes eee erenenemneess 14,15
TRANSMISSIONS & RUNNING GERAR...2 0000 cose cu cctea eee eeteenenes sereeereneeee lO

ELECTRICAL SYSTEMS...........-- 2505s 2 ces eee eeee nee es enews res covet esuegecstecereeed P19

DISCRIPTION |... 2.00 2c0cc ccc cc ees ee ence eee une ea cece y cas daa gngieereteneetengerengerertess 24-26
RECCOMENDATIONS .........----- genes eeese ce eeeceeneve ey teeeseeteereenesrespesey ens 26

CLOSING STATEMENT & SIGNATURE PAGE. -0.0-- enc eeee eee neee eee eeeens eee 27

Surveyed for: Phil Patley — 2988 70" Viking Motor Vackt “RAIDERS” Report file #: 5085
Surveyed in Kerry Mikula, SAMS. SA ABYC, NEPA. Page 2 of 27

Raiders_UFO00017
Case 2:19-cv-04466-GEKP Doglimeptt, Filed 09/25/19 Page 28 of 82)

“RAIDERS”

VKY70101B8388

1988 70’ Viking Motor Yacht

Surveyed for: Phil Paltey — 1988 30" Viking Motor Yacht “RAIDERS” Report file #: 5085
Surveyed by: Kurty Nikulea, SAMS. SA. ABYC. NEPA. Page 3 of 27

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Raiders _UFO00019
Case 2:19-cv-04466- GEKP Doc ment 4 ohled 09/25/19 Page 30 of 82)

J Lone lt

Data found in current database.

Vetse! NameiRRIDERS —— Ti USCG Bac Ne 940874
Yessel Service:IRECREATIONAL IMO Number
Trade Indicator: Recroational __}! Call Signi|"
__ Hull Material: -FRP (FIRERSLASS) fhe Hull Nucriatt IVKY70 101! HeES |
j © Ship Builder" oo ~ IE 4
Halling FortPHILADELPHIA PA 2 {o7 _
” "RAIDERS RETREAT \| “Hull Breadth (ft) (17.3 7
REALTY COLLC | IL ~ Gress Tonnape!7é oo

‘Gamar 1241 WELCH ROAD
{HUNTINGDON VALLEY PA |!
49006) PO BOX 549 t| Net Toninage:/62
ABINGTON. PA19001 1 __
Documentation eT May 04, 2016 | Documentation Expltaii pil 30, 2017
ate: i atte ===
RAIDERS RETREAT
REALTY COLLC
RAIDERS RETREAT
‘REALTY CO LLC |
IRAIBERS RETREAT 1
REALTY CO LLC |
:MARGARITA LOU RAIDERS RETREAT |
[Previous Vessej Names: AS IREA a | |Previous Vessel Owners: (RAIDERS. eerae AT |
| IWAYNE'S WORLD ! REALTY CO LLC |
| RAIDERS RETREAT
|REALTY CO LLC
BLTT INC.
il KIPENDA, ROHO LLC
MOTIVATIONAL
| __INCENTIVES INC_

Surveved for: Phil Pulley— 1968 70" Viking Motar Pacht “RAIDERS” . Report file W: 5085S
Survewed ap: Herre Nikuie, SAMS: SA. ABYC NFPA, Page 4 af 27

Raiders _UF0Q00020
Case 2:19-cv- DAd66-GEKR ROGUE iA afi GR POURRA 1BAVe 31 Of 82)

SCOPE OF SURVEY

Report file #:
Name of vessel:

Inspection Date(s):

Date of written report:

Conducted by:
Requested by:
Owned by:

In the presence of:

Purpose of survey:

Navigation limits:

Vessel survey location:

Sea Triah

Electrical systems checked:

Engine Survey:

Underwater areas:

Running gear:

5085

RAIDERS

October 18, 2616

October 26, 2016

Kerry Nikula SAMS. SA. ABYC. NFPA.

Phil Pulley phili@shemanagement.com 215 669 2658
Raiders Retreat Realty Co. LLC.

Surveyor ouly

Assess the overall condition and value of vessel for
insurance considerations.

To underwriter’s requirements

While hauled ashore at Apex Marine, Pompano Beach,
FL.

Sea trial not requested or carried out during this survey

AC shore power was used to check AC power systems.
Vessels batteries were used to check DC electrical
systems. A qualified electrical surveyor did not carry
out an electrical survey.

Engines & generator were not surveyed during this
inspection.
The underwater areas were fully sounded with a

phenolic hammer and inspected visually.

The running gear was fully inspected and found to be in
good condition.

Report file t: $O8S

Surveyed for: Phil Pulley — 1988 70° Viking Motor Yacht “RAIDERS”
Page $ of 27

Sarveped by: Kerry Nikuta, SAMS. SA. ABYC. NFPA.

Raiders_UF000021
Case 2:19-cv-04466-GEKR, ROGUTEN I de afi 8A PORMAA 1BAUE 32 of 82)

Huil sides: The bull sides were fully inspected while the vessel was hauled
ashore and found to be in good condition with no major dings
or scratches noted. The swim platform was found securely
installed on the transom.

Condition rating: Above average
Estimated fair market value as of October 26, 2016: 550,000 U.S. DOLLARS
Estimated replacement value as of October 20, 2016: 4,000,000 U.S. DOLLARS

NOTE: Values are dependent on the limiting conditions and assumptions
noted in this report. These values are statements of opinion. No
guarantee can be given that these opinions of value will be
sustained or that they will be realized in an actual transaction.

NOTE: The overall vessel condition and value was established after a
complete inspection of stated vessel, the results of which are
included in the body of this report. The estimated fair market value
and replacement cost is based on recent selling prices of similar
vessels of like type, age, manufacturer, condition, power &
equipment, all fairly depreciated. Also on knowledge of local
market, Yahetworld.com, Soldbosts.com, BUC book and other
materials at hand.

SURVEY STANDARDS

Standards followed: This survey was completed using as reference the federal
regulations and amendments issued and enforced by the United
States Coast Guard under the authority of Title 33 and Title 46 of
the United States Code of Federal Regulations (CFR’s). In
addition the American Boat and Yacht Council (ABYC) and
National Fire Protection Association (NFPA-302) voluntary
standards were used as reference during the survey. Most vessel
manufacturers generally follow these ABYC and NFPA voluntary
standard practices today.

“Surveyed for: Phil Pulley ~ 1988 70! Fiking Moir Yacht “RAIDERS” Report file #: 5085 7
Surveyed bye Kerry Mikitla, SAMS. SALABYO NEPA. Page 6 of 27

Raiders_UFO000022
Case 2:19-cv 04266 CER, ROUGE ka Tle QHeW AT igae 83 of 84

SURVUY INSPECTION COMMENTS _

Comments: +411 systems and components inspected and described herein are
considered serviceable and/or functional except as indicated in the
survey report and recommendations section. Electronic devices
and instrumenis were checked for power up and functionality. If a
component is not identified in this report, it was not inspected.

* “Priority 1 recammendations” are related to Safety &
Regulatory findings and are listed in the first section of
reconunendations in this report.

* “Priority 2 recommendations” are related to maintenance &
Standards findings and are listed in the second section of
recommendations in this report.

* “Orher recommendations” are “findings” that are relatively
minor and cosmetic in nature and are listed in the third section of
recommendations in this repori.

* Tt is the nature of salt-water marine vessels thal deterioration,
wear and accidents do eccur and as such, this report therefore
represents the condition of the vessel anly at the time of inspection.
* The US Power Squadron offers relatively inexpensive boating
safety classes for both new and seasoned boaters and will hetter
prepare any boater for use of u power or sailing vessel on open
waters. Many Insurance companies offer premium discounts upon
successful completion of these classes. Recommended that it is
checked with your local US Power Squadron office for availability
of these classes.

Suarveyeit for: Phil Puiley — L948 70' Viking Motor Yacht “RAIDERS” Report file #: S085
Surveyod hy: Awrey Nikula, SAMS. SA. ABYC. NFPA, Page 7 of 27

Raiders_UFOQ00023
|

Case 2:19-cv-04466-GEKR , RaGUMeNE tefl gdGR/25/19

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VESSEL SPECIMICA TIONS

Vessel Name: RAIDERS
Huil ID (HTN) # VKY701L01B888
Document #: 940474

Hailing port: OLD YORK ROAD (On transom)
PHILADELPHIA, PA. (On document)

Gross tons: 78

Net tons: 62

Moided Depth: 9.7

Manufacturer/Builder: VIKING

Designer: AS ABOVE

Model Year: 1988

Year Built: 1988

Power: TWIN DIESEL

Type: MOTOR YACHT

L.O.A.: 69° 6”

Beam: 17 4”

Dralt: 4° 9”

Displacement: 73,300 Ibs. Reported

Remarks & Recommendations: Please see pages 4-27.

The subject vessel at this inspection is deemed to be an acceptable fire and marine
risk subject to compliance with the “Priority 1” recommendations listed on page 26

in the body of this report.

Report file #: 5085

Surveyed furs Phil Pulley — [988 70" Viking Motur Yacht “RAIDERS”
Page 8 of 27

Surveyed hy: erry Nikula, SAMS. SA, ABYC NFPA.

Raiders_UFO00024
Gase 2:19-cv-04466-GEKP Dacyumppid, Filed 09/25/19 Page 35 of 84

EXTERIOR - = _

Cunstruction: Cored molded fiberglass decks w/ noa-skid

Super structure: Cored molded fiberglass, white

Frames: integral fiberglass

Deck Beams: Integral fiberglass

Bulkheags: Piywood tabbed to hull and deck

Stem: Raked & Flared

Stern: Transom

Safety Lines: Stainless steel wire w/ vinyl over + handrails & stanchions

Bow pulpit: Stainless steel

Bow Sprit: Fiberglass w/ stainless steel anchor roller bracket

Anchor: Plow w/ 20’ chain & 150° rode. Approx. lengths, ran out &
check

Windlass: “Ideal” vertical, electric

Swim platform: Tiberplass w/ ladder

Transom gate/duor: Yes

Deck winches: N/A
Surveyed for: Phil Pulley — 1980.30" Viking Mtotne Foods “RAIDERS” — Report file B: SUBS
Surveped ay: Kerry Nikela, SAMS. SA ABYC NEPA. Page ? of 27

Raiders_UFO0Q0025
Red holders:
Outriggers:
Deck hardware:
Covers:

Bimini top:
Bimini top frame:
Lines:

Fenders:
Refrigerater(s):
Freezer(s):
{cemaker(s):

Overall condition:

FLY BRIDGE

Yes + recket launcher type

N/A

Stainless steel & chromed bronze
For exterior seating & windshields
White

Stainless steel

Twelve

Four large & two medium

N/A

N/A

N/A

Above average

Case 2:19-cv-04466-GEKP-- Document1—Filed 09/25/49 Page-36 of -82

Helm:
Seating:
Sun Jounge:

Wet bar:

Forward on the centerline

Three helm chairs + aft to port & built in on fore deck

N/A

N/A

Report file #: S085

Surveyed for: Piri Pulley — T9808. 20" Viking Morr Vachs “RA iDERS”
Pave 10 of 27

Surmiyed by: Kerry Nikuly, SAMS. NA. ABYC NEPA.

Raiders_UF000026
Case 2:19-cv-04466-GEKP. Document1—Filed09/25/49 Page-37of 82

Enclosure: N/A
Radar arch: Yes
Davit: “Nautical Structures” aluminum w/ hydraulic winch

Overall condition: Above average

NAVIGATION ELECTRONICS:

Fly Bridge: Lower Helm:
Compass: 6” Danforth 0 6” Danforth
Auto Pilot: Raymarine ST8002 00 ans, __ Raymarine ST8002
Radar: Raymarine E120 eee N/A
GPS: Garmin 741 XS Northstar 952X
GPS: Raymarine E120 cee Raytheon Nav398
GPS: Northstar 952% Northstar 800 Loran C
Chart plotter: In above GPS’s ee Narthstar 952X
VEE: Icom tC-M412 Raytheon Ray 220
VHF: West Marine_. . oo __..... leom LC-M41Z in cockpit
Fisbfinder: Furuno FC¥-292 0 ee NVA
Depth finder: in above + Datamanne vo Datamarine
Sr ef eae sree me Meet

Raiders _UFO00027
Case 2:19-cv-04466-GEKP . Document.1 Filed 09/25/19. Page-38-of 82
Fly Bridge: Lower Telm:

Speed log: In GPS’s in GPS’s

Wind gauge: N/A a. eee. Datamarine

Sat. TV: KVH Trac Vision

Other: “Viewsonic” & “RCA” monitors at lower helm

Other: JRT NCR-300 A Navtex receiver at lower helm

Overail condition: Above average

INTERIOR

Interior finish: Teak

Trim: As above

Floors: Carpets throughoui + marble in galley
Ceilings: Vinyl

# of staterooms: Four

# of enclosed heads: ‘Three

# of showers: Three + deck shower
Side deck duors: Port & starboard in pilotheuse
Escape hatches: Forward stateroom overhead hatch

Report fite tz SO85

Survoved for= Piit Puttep — 1988 74" Viking Motor Yacht “RAIDERS”
Page 12 of 27

Surveyed bys Kerry Nikelu, SAMS. SA. ABYC, NFPA.

Raiders _UF000028
Case 2:19-cv-04466-GEKP. Document 1. Filed-09/25/19. Page 39 of 82

Bilge access: Engine room, guest companionway, forward & master
staterpoms

Overali condition: Above average

ENTERTAINMENT ELECTRONICS

Televisions: LG in salon & master stateroom + Quasar in guest staterooms
VCR/DVD’s: LG Blueray DVD in salon + Quasar VCR in guest staterooms

Stereos: Sony AV receiver in salon + Sony AM/FM CD players in master
statercom & on fly bridge

Printers / Scanners: N/A
Overall condition: Above average

GALLEY & MISC, EQUIPMENT

Location of galley: Forward to port

Location of dinette: Former te port in salon + fly bridge table

Surveyed for: Phil Pulley — 1988 70° Viking Motor Yachs “RAIDERS” Repurt file 4: SO8S
Surveyed by: Kerry Nikula, SAMS. SA. ABYC. NFPA. Page 13 of 27

Raiders_UF0Q00029
Case 2:19-cv-04466-GEKP__Document.1 Filed-09/25/19 Page 40 of 82

Stovetop: 4 Burner “Kitchenaid”, electric
Stovetop shut offs: At stovetop & breaker

Oven: “Gaggenau” electric
Microwave: “Panasonic”

Convection oven: In main oven

Ventilation: Adequate

Refrigeration: “Whirlpool” side by side

Freezer: As above

icemaker: “{J-line” in salon + in freezer w/ door dispenser

Hot water heater: 20 gallon electric “Seaward”

Washer / Dryer: “Kenmore” stack type
Dishwasher: “Whirtpeol”
BBQ: “Magma” portahie type

Galley counter type: Solid surtace

Overall condition: Above average

MACHINERY

Engine location: Aft below aft deck
Surcevnd for: Phil Pulley = 1988 70° Viking Motor Yachs “RAIDERS” Report file 4: SOSS
Surveped by: Neer’ Nédasu, SAMS. SA, ABYC. NFPA. Pape 14 of 27

Raiders_UFO00030
Case 2:19-cv-04466-GEKP. Document 1. Filed.09/25/19

Number & type:
Make:
Model:

Port serial #:

Starboard serial #:

Engine hours:

Horsepower:
# of cylinders:
R.P.M.:
Alarm system:
Engine bed:

Cooling system:

Primary fuel filters:

Secondary filters:
Fuel pump:
Exhaust muMers;
Exhaust tubes:
Engine centrols:
Synchronizer:

Overall condition:

Page 41 of 82
Two

DETROIT DIESEL 12V 71 TA

Port: 7122-7600 Starboard: 7122-73800
12VA81910

12VA81979

Port: 3829.5
guaranteed)

Starboard: 347.9 (Accuracy not

900 each

Twelve

2300

Yes

Fiberglass stringers w/ flexible mounts
Fresh water

2 x Racor in-line for each main engine
Bowls on engines

Mechanical

Yes

Hose & fiberglass tubes

Twin lever Hynautic

“Glendinning”

Above average

Report file #: S085

Surveyed for: Pini Paiiey — 1988-70" Viking Motor Yucht “RAIDERS”
Page 15 of 27

Surveyed by: Kerry Nikula, SAMS SA. ABT NEPA

Raiders_UFO00031
Ca Se 2:19-Cv-04466 GEKF 0G NOR hd ENGR OV ADALe Page 42 of 84

Type: ZF
Model: BW 190

Reduction ratio: 2.0371

Port serial #: 665

Starboard serial #: 664

Trolling valve: N/A

Propellers: Four blade Nibral 32” x 33.5” + 2 x four blade spare’s
Propeller shafts: Stainless steel 2%” diameter

Rudders: Bronze spades

Bow thruster: 2x 4 biade in 16 4” tube, electric

Stabilizers: “Naiad” #254 w/ 45” x 28” fins

Trim tabs: Stainless steel double ram

Steering: Hydraulic

Helm stations: Two + cockpit controls

Overall condition: Above average

Surveyed for: Phil Paltey — LI8% 70° Viking Motor Yacht “RALDERS” Report filed: SO8S
Surveyed by: Kerry Nikita, SAMS. SA. ABYC. NFPA. Page 16 of 27

Raiders_UFO00032
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GENERATOR(S)

Type:

Modal:

Serial #:
Hours:
Kilowatts:
Voltage:
Cyeles:
RPMs:
Cylinders:
Cooling system:
Ventilation:
Exhaust:
Muffler:

Fuel pump:
Primary filter:

Secondary filter:

Kilopak

BC! 184 El
X07A050185

Not sighted

23

120/240 single phase
60 Hz

1800

Four

Fresh water

Adequate

Hose & fiberglass tube
Yes

Mechanical

Racor in-line for each generator

Bowl on engines

Surveyed fir: Phil Puiley— 1988 70° Viking Matar Yacke “RAIDERS”
Surveyed hy: Kerry Nikita, SAMS. SAL ABYC. NFPA

Report file #: S085
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Raiders _UFO00033
Case 2:19-cv-04466-GEKP. Document1. Filed.09/25/19 Page 44 of 82
Max Amps: N/A
Overall condition: Above average

RE POWER

Receptacles: 4 x 250 volt x 50 Amp, two on power reels
Power cords: 4x 250 vol x 50 Amp, two on power reels
Power conversion: N/A

AC Elec. panels: In pilothouse

DC Elec. panels: As above

Overall condition: Above average

BATTERIES & CHARGERS

Battery installation: 6 x 12 Volt 8D between engines

Battery installation: 4 x 12 Volt in forward bilge

Surveyed for: Phil Pulley - 1958 70’ Viking Motor Yacht “RAIDERS” Report file #: 5085
Sarveyed by: Kerry Nikula, SAMS. SA. ABYC. NFPA. Page 18 of 27

Raiders_UFOQ00034
Case 2:19-cv-04466-GEKP_ Document 1 Filed 09/25/19 Page 45 of 82

12 Volt chargers: 60 Amp “Sentry”

24 Volt chargers: 20 Amp “Pro Mariner”

Ventilation: Into machinery space + AGM sealed type in forward bilge
DC converter: N/A

Drip pans: Fiberglass & plastic boxes w/ lids

Secure: Yes

Battery switches: Four approved type
Overall condition: Above average

MISCELLANEOUS

Air conditioning: = “Cruise Air”

Heating: Reverse cycle in the above
Air compressor: Yes

Wiring: Thermoplastic were sighted
Adapters: N/A

Lights: 24 volt DC & 110 volt AC
Bonding system: Throughout

Battery isolators: N/A
Eng. rm. blowers: 24 volt DC
Veut fans: 110 Volt AC

Overall condition: Above average

Survelal for: Phil Pulley — 1988 70' Viking Motor Yacht "RAIDERS™ Report file #: SORS
Surveyed dys Kerry Nikula, SAMS, SA. AB YC. NFPA, Page 19 of 27

Raiders_UF000035
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FUEL.
Number: Three

Total Capacity: 1,340 Gallons, reported

Material: Fiberglass

Shape: Rectangular

Fuel type: Diesel

Location: Port & starboard beluw cockpit deck + forward in engine
room

Bonded: Yes

Seeure: Yes

Valve location: In-line

WATER _ _ = _

Number: Onc

Total Capacity: 350 Gallons, reported

Material: Fiberglass
Shape: Rectangular
Location: Below cockpit deck on the centerline

BLACK WATER (SEWAGE) _ . _

Number: One

Total Capacity: Gallons not reported

Material: Fiberglass

Shape: Rectangular

Location: Below guest stateroom sole
Surveyed for: Phil Puiley —1988 70° Viking Moter Vackt “RAIDERS” Report fite #: 5085
Survoved Ay: Kerry Nikuto, SAMS. SA ABYC NFPA Page 20 of 27

Raiders_UFO00036
Case_2:19-cv-04466-GEKP Document 1 Filed-09/25449—Page 47-ef 82
Type: Sumps
Location: In local biiges

Overall condition: Above average

HULL, BOTTOM & HULL SLIDES

Material: Molded fiberglass w/ black auti-fouling paint
Boot stripe: Biack
Keel: Full

Prop. Protection: Hull, keel & struts

Bilges aft: Clean & dry

Bilges forward: Clean & dry

Bilges eng. room: Clean & dry

Zincs (Anodes): 2 on bow thruster, | per trim tab, 1 per shaft + Dynaplate

Thru’ hull fittings: Bronze below water line w/ bronze & plastic above, all found

serviceable
Surveyed for: Pit Pulley — 1988 70° Viking Matar Yacke “RAIDERS” a Report file #: 5085
Surveped dy: Aerre Nikule, SAMS SA, ARPE NFPA. Page 21 of 27

Raiders UFO00037
Case 2:19-cv-04466-GEKP...Document1 Filed 09/25/19 Page 48-of 82

Material: Cored molded fiberglass, white
Rab rails: Stainless steel
Portholes: Stainless steel

Engine rm. vents: Aluminum

Overall condition: Above average

FIRE FIGHTING & SAFETY GEAR

FIRE EXTINGUISHERS

Built in system: “Fireboy”

Type: Halon 1301

Tank location: In engine room

Inspection date: Expired
Surveyed for: Phil Pultey ~ 2984.70’ Viking Motwy Yacht “RAIDERS” Report file #: 5085
Survived by: Kerry Nikula, SAMS, SA, ABYC. NERA. Page 23 of 27

Raiders_UF000038
Case 2:19-cv-04466-GEKP. Document.1—Filed_09/25/19 Page 49 of 82

Automatic release: Yes

Manual release: Yes

Shut downs: Main engines & generator

Hand held: Seven x 2 % lb., + two 5 Ib. Dry powder
Tnspection date: Expired

Aux. fire pump: Deck wash downs

Dewatering pumps: 4 x 24 volt submersible type w/ float switches

Engine driven pps: N/A

Comments: *Halon system, service and date tag. Fixed fire extinguishing
systems maintenance- AB ¥C A-4 Ap.6.3 Alt one-year intervals, a
full maintenance check should be made by a qualified fire
extinguishing system service facility in accordance with the
manufacturers muintenance instructions. A tag should he
attached showing the date of such maintenance check.

“Fire extinguishers, service and date tag. Portable fire
extinguisher maintenance- ABYC A-4 Ap.5.4.2 At least once a
year, a full maintenance check should be made by a qualified fire
extinguishing service facility in accordance with the
maintenance instructions on tie name plate of the extinguisher.
A tag should be attached showing the date of such maintenance
check.

LIFE JACKETS (PED’s)

Type “I”: Adult: Eight
Type “UL: Adult: Forty
Type “Il”: Adult: Twelve

Throw cushions: Three

Life rings: One w/ floating throw line attached + Life Sling

Life rafts: N/A
Surveyed far: Phil Pulley — 1988 70° Viking Motor Yacht “RAIDERS” Report file #: 5085
Surveyed by: Kerry Nikulo, SAMS. SA. ABYC. NFPA. Page 23 of 27

Raiders _UFOQ00039
Case 2:19-cv-04466-GEKP__ Document 1_ Filed.09/25/19_Page 50 of 82

Red hand held: Four

Expiry date: 6/2018
MISCELLANEOUS

EPIRB: “ACR” 406
Expiry date: 7/2017

First aid kit: Yes

Smoke detectors: Throughout vessel
Fume detectors: Throughout vessel

Rules of road book: Yes
Hern: Yes
Bell: Yes

U.S.C.G. notices: Yes. Oil pollution, garbage disposal placards and waste (black
water) discharge notice

Navigation lights: All working

Anchor lights: All working
Search light: 2 x “Jabsco” w/ full functions
Comments: N/A

VESSEL WRITE UP / DESCRIPTION

Exterior:

The vessel comes with the standard layout and as listed previously in this report was well
found. All equipment was found in good condition. This is a wide body motor yacht with
the side decks only accessed from the port and starboard side deck doors in the
pilothouse. The anchor windlass was found securely installed on the centerline with
access to the chain locker through a hatch on the forward bulkhead in the forward

Stateroom.
Surveyed for: Phil Pulley ~ 1984 70 Viking Mator Yacht “RAIDERS” Report file d: S085
Surveyed by: Rarry Nikewzls, SAMS. SA. ABYC NEPA Page 24 of 27

Raiders _UFOO00040
Case 2:19-cv-04466-GEKP Document1_ Filed 09/25/19 Page 51 of 82

Exterior:

There is a built in bench seat forward of the raised trunk with good storage below. The
deck hatch forward of the built in seating is an escape hatch for the forward stateroom.

Fly Bridge:

The fly bridge was found clean and neat with good seating. The helm was found on the
centerline with al] engine controls, gauges and clectronics all easy to hand. There are
threc helm seats aft of the heim. The large seating is aft to port and starboard with good
storage below the seating and a large two pedestal table inboard of the port seating. This
area is well protected by the large Bimini top. The hatch to the att deck stairs in afl to
starboard and a large sun lounge area is aft to the seating with a stainless steel safety rail
aft and to port and starboard. The dinghy is installed on the centerline aft with the dinghy
davit installed aft to starboard.

Cockpit:

The cockpit on this vessel is factory installed and provides easy handling of docking lines
with deck hatches to access the steering gear, aft fuel tanks and water tank. The port and
starboard fuel tanks are both leaking fucl and will have to be repaired. These are
fiberglass tanks and should be easy to repair.

The transom gate is alt to starboard for access to the large swim platiorm and a large
console is forward to starboard with very good storage inside. The stairs to the aft deck
are forward to port.

Aft Deck:

This is of an adequate size with access to the salon through double doors on the centerline
forward with the aft deck engine controls to starboard. The fly bridge overhang protects
this area.

Interior:

The interior comes with the standard layout that includes a good size salon that comes
with good seating and storage. There are four large sofas aft to port and starboard with
consoles between. Forward of the port sofas is a console where the large flat screen TV
and entertainment equipment are installed. The stairs to the fly bridge, master stateroom
and engine room and large console arc all forward of the starboard sofas. Forward to port
is the formal dining table with six chairs.

The galley is forward to port and was found clean and neat with all equipment in good
working condition. This arca is open to the salon with the pass thru’ to the wheel house,
side deck doors and stairs to the guest staterooms to starboard.

Surveyed fore Phil Pulley — 1988.70" Viking Motor Yacht “RAIDERS” Report file 4: 5085
Survevied byt Kerry Nikula, SAMS. SA ABT CONEPA, Page 25 of 27

Raiders _UFO000041
Case 2:19-cv-04466-GEKP Document1 Filed.09/25/19 Page 52 of 82
Interior:

The cabins were all found clean and neat with each head also found in good condition.
Aft and full beam is the very large master stateroom with a king size bed on the
centerline, large hanging lockers to port and a console with drawers to starboard. A desk
and chair is forward with the large flat screen TV installed on the bulkhead forward of the
desk. The bathroom and separate stall shower are forward to port.

There is a laundry room forward to port of the master stateroom with lockers to starboard
and entry to the engine room to port through the laundry room.

The guest staterooms are accessed from the stairs forward to starboard of the wheel
house. The port stateroom comes with a double size bed with a hanging locker inboard.
The starboard stateroom comes with twin single bed and good storage in lockers and
drawers. The head to these staterooms is accessed from the companion way to port.

The forward stateroom comes with twin single upper and lower berths, good storage and
the head and separate stall shower aft to starboard.

Lower Helm:

This is located forward on the centerline and was found good. All engine controls; gauges
and electronics are all easy to hand. There is a raiscd built in bench seat aft with port and
starboard side deck doors and the stairs to the guest staterooms forward to starboard.
Visibility is adequate from this station.

Machinery Space:

This area is accessed from the utility room forward of the master stateroom. There is full
standing headroom with good access to all of the machinery to carry out all service work.
Both main engines are reported to run well with the generator reported to carry the entire
vessels electrical load.

The vessel “RAIDERS” is in above average condition and is well maintained by her
knowledgeable owner.

FINDINGS & RECCOMMENDATIONS

Priority 1 recommendations:

*Halon system, service and date tag.
“Fire extinguishers, purchase and store onboard.

Surveyed for: Phil Pulley — 1988 71)’ Viking Motor Yacht “RAIDERS” Report file 8: S045
Surveyed by: Kerry Nikula, SAMS. SA. ABYC. NFPA. Page 26 of 27

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Case 2:19-gy- 04466. GEKP, ,DAGUUGN fu filetsP RHR ARRAS? Of 82

| TRIAL RUN DATA:

PORT ENGINE: STARBOARD ENGINE:

SPEED

nem, [WATER | om | oRIVE Tray | WATER | Of. [oRIVE! | % | pie | Ges

° ENG IN KNOTS
SLOW
CRUISE
CRUISE
FULL.

SEA TRIAL WAS NOT REQUESTED OR PERFORMED BY THIS SURVEYOR

The underwater areas were fully inspected visually and with a phenolic hatnmer with no
gel-coat blisters or delarmmation noted. The anti-fouling paint was found serviceable.

All of the vessels running gear was inspected and found good.

AJl of the vessels through hull valves were inspected and tried for case of movement and
all were found serviceable.

The valuation on page #6 for the vessel mentioned in this report is intended for insurance
and valuation purposes only and is not intended to influence the purchase or none
purchase of subject vessel.

The tanks were not full at the time of this inspection and it is suggested they be filled to
prove integnity.

‘The above represents the opinion of the undersigned based on the facis presented and the
discoveries made while surveying subject vessel, with no warranty either specific or
implied being made.

Respectfully submitted,

fay

Kerry Nikula

Attending surveyor
Signed without prejudice
October 20, 2016

SAMS. SA. ABYC. NFPA

Surveyed for: Phil Pulley — 1988 70’ Viking Motor Yacht “RAIDERS” "Report file #: 5085
Surveyed oy: Merry Nikula, SAMS. SA. ABYC, NFPA. Page 27 uf 27

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“T)”
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Page 1 of 1 Concept Special Risks Led www special-risks.co.uk

Letter af Survey Recommendations Compliance

assured Name: ba ders Retreat Peathy Co, bee
assured Address: (6 Bow SF Absagton PA Tost

Policy Number: Perguwal of CORYE Lis Zaryr
etches (B. 22lG

Roreyee writ aah areey: vv uke, Marine Seyuee- re 9
war Packers" (98S oveIning HEN: VKY 70 (0 BBS8

| certify, as owner of the above vessel. thal all recommendations pertaining 10 the above
vessel contained within the detailed survey submitted herein, have been camplied witn.,
ather than thase listed below, along with the dale of expected completion {please
reference the recommendatan number as datalled on the survey where appropriate):

i Qutstanding Recommendation (5) _| Expected Completion Date |
{
it fh
rigs —
aM = —

Details of Boat Yard or Repair Facility Employed:

Contact:

Address

WARNING:

Any misrepresentation in this letter of pliance may render insurance coverage

Assured Signature:

ore Oech A zoe

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“E»
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|

— (Concert Special Risks

Renewal Questionnaire

Quote Number: 3923248

Previous Policy: CSRYP/163367
Next Policy Period:
Assured:

Assured's Address:

Raiders Retreat Realty Co., LLC

PO Box 549, Abington, PA 19001, USA

November 5, 2018 to November 5, 2015

Scheduled Vessel: Raiders, 1988 70’ Viking with Detroit twin 900hp diesel erigine,
VKY701018888
Cover and Respective Insured Limits:
rar Currently .
E
Section xpiring Quoted Revised
Coverage Coverage
Coverage
=e pe Som ee =
A Huil US$ 550,000 US$ 550,000 |
LL - |
Hull Deductible US$ 33,000 US$ 33,000 *
Tender/Dinghy US$ 9,000 US$ 9,000 :

ng

Non-Emergency Tow

Breach of Warranty

US$ 500

not covered

US$ $00

not covered

Tender 2

B Third-Party Liability CSL

USS 9,000

US$ 1,000,000

US$ 9,000

US$ 1,000,000

E Trailer

Crew Liability Extension within CSt US$ 1,000,000} US$ 1,000,000
C Medical Payments US$ 10,000 US$ 10,000
D Uninsured Boaters

US$ 550,000

not covered

US$ 550,000 |

not covered :

F Personal Property

Other (Please specify)

US$ 5,000

US$ 5,000 |

Residence:
vo)

Unity touse = 2 Staten Court

5tatian Road

+44 (GC) 1943 882 700
Guiseley

Will your vessel be your full-time residence during the next policy period?

Concept Special Risks Ltd
www.special risks cum

LEEDS LS20 BEY United Kingdom

Raiders _UFUU0U45
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Rrnewal Questionnaire page 2 Concept Special Risks Ltd

Surveys: Your next survey is due on November 5, 2019 and should be performed
out of the water (hauled).

Navigational Limits: Warranted that the Scheduled Vessel Is confined to East Coast USA, Florida
and the Bahamas - not to exceed 150 miles offshore.
if you require different navigational limits to these, please detail here or

attach an itinerary.

Hurricane Moonng: Your vessel mooring location during July 1st to November 1st is currently
declared as 2319 NE 29th Se, Lighthouse Point. FL 33064, USA,
26.2679086 -80.091365. If this is incorrect please detail below, providing the
(ull address, ZIP/postal code and longitude/latitude readings of the new
mooring location:

WilLyour vessel will be afloat or ashore during the hurncane season?
Cartoat) Ashere

Loss Payees: Your previous policy had the following loss payees. Assured, If you need any
additional loss payees. please name them here.

Operators: The five individua!s detailed on the following pages are approved by us to
operate the Scheduled Vessel.

Please ensure all persons (including captains and crew) cperating the vessel
during the policy period are listed in the following pages, and that all details
are complete, accurate and up to date. Delete any operator no longer
required.

Warning: This is a named-operator-only policy.

Raiders UrUuUU46.~~—~—~S
Case 2:19-cv-04466-GEKP Document1 Filed 09/25/19 Page 59 of 82

Renewal Questionnaire page 3 Concept Special Risks Lid
Operator 1: Please ensure the details provided for Philip Pulley are complete, accurate
and up to date, If you are unsure what information to provide, please
contact your broker who will be able to assist you. If Philip Pulley no longer
operates the Scheduled Vessel, please cross out the table below,

Name Philip Pulley

Date of birth February 2, 1962

State of residence — Pennsylvania, USA ee
Years of boat ownership 43 ~

Years of boating experience 45

Violations and suspensions (including auto) in the last five years
None

Boating qualifications for which a valid licence is held
Various courses

Coast Guard Aux

Power Squadron

Sea Scout

Boat US

Details of previous vessels owned and/or operated
70' Viking

21' Grady White

50' Uniflite

25' Seacraft

Operated:

112’ West Port

118' Benetti

All losses in the past 10 years (whether insured or not), including
payment amounts and current status
Hurricane Wilma- 24th October 2005- $150,000

Details of all criminal convictions and pleas of no contest

None

— Raiders_UF0Q00047
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Renewal Questionnaire page 4

Operator 2:

Concept Specal Aisks Ltd

Please ensure the details provided for Kim Holt are compiete, accurate and
up to date. If you are unsure what information to provide, please contact
your broker who will be able to assist you. If Kim Holt no longer operates
the Scheduled Vessel, please cross out the table below.

Name Kim Holt

Date of birth January 24, 1954
State of residence Florida, USA '
Years of boat ownership 48

Years of boating experience 52

Violations and suspensions (including auto) in the last five years

None

{ee

Boating qualifications for which a valid licence is held
Licensed captain 100 tor

Details of previous vessels owned and/or operated
30'-80' vessels

All Josses in the past 10 years {whether insured or not), including
payment amounts and current status

Syarngle: 2008, Hurriceme Loss, $20,000 Pard, Closed

None

Details of al! criminal convictions and pleas of no contest

None

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Renewal Questionnaire page 5 Concept Special Risks Ltd

Operator 3: Please ensure the details provided far Ruby Marrero are complete, accur-
ate and up to date. If you are unsure what infermation to provide, please
contact your broker who will be able to assist you. if Ruby Marrero no
longer operates the Scheduled Vessel, please cross out the tabie below,

Name Ruby Marrero

Date of birth January 1, 1975

‘state of residence Florida, USA |
Years of boat ownership g

Years of boating experience 18

Violations and suspensions (including auto) in the last five years
None

Boating qualifications for which a valid licence is held
Cuban Navy 7 years
Florida Safe Boating

pm = i apres ttc tote

Details of previous vessels owned and/or operated
50' Military
250 Military

| all losses in the past 10 years (whether Insured or not), including
payment arnounts and current status

Exarnple: 2005, Hurricane Loss, $20,000 Paid, Closed

None

Details of al! criminal convictions and pleas of no contest
None

Raiders_UFOO004S
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Renewal Questionnaire page 6 Concept Special Risks Lid

Operator 4: Please ensure the details provided for Benjamin Pulley are complete,
accurate and up to date, If you are unsure what information to provide,
please comact your broker whio will be able to assist you. If Beryamin Pulley
no longer operates the Scheduled Vessel, please cross out che table below.

Name Benjamin Pulley
Date of birth September 7, 1992
state of residence Pennsylvania, USA Oe —
Years of boat ownership 9
Years of boating experience 15

Violations and suspensions (including auto) in the last five years

None

Boating qualifications for which a valid licence is held
Florida Boaters License

Details of previous vessels owned and/or operated
21' Grady White

38 Trojan

40° Carver

80° Hargrave

89’ Ferretti

76' Monse Carlo

All losses in the past 10 years (whether insured or nat), Including
payment amounts and current status

Exuriple 2005, Hurricane Loss, $20,000 Paid, Closed
None

Details of all criminal convictions and pleas of no contest
None

— Raiders_UFO00050
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Renewal Questionnaire page 7 Concept Special Risks Ltd

Please ensure the details provided for Miles Sheahan are complete, accur-
ate and up to date. If you are unsure what information to provide, piease
contact your broker who will be able to assist you. If Miles Sheahan no
longer operates the Scheduled Vessel, please cross out the table below,

Operator 5:

Name Miles Sheahan
Date of birth December 18, 1963
| state of residence TBD — |
Years of boat ownership 0
Years of boating experience 30

Violations and suspensions (including auto) in the last five years

None

Boating qualifications for which 2 valid licence is held
USCG 100 Ton license

Details of previous vessels owned and/or operated
80' Viking

66' Marquis

54' Azimut

So Arimuv] _
All losses in the past 10 years (whether insured or not}, including
payment amounts and current status

Fxarnple: 2005, Hurricane Loss, $20,000 Paid, Closed

None

Details of all criminal convictions and pleas of no contest

None

Raiders_UF000051
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Renewal Questionnaire page & Concept Speciat Risks Ltd

Operator &: Below you may add an additional operator for approval by our under-
writers, If you wish to add several operators, please print and submit as
many copies of this page as required.

Date of birth

State of residence

Years of boat ownership

Years of boating experience

Violations and suspensions (including auto) in the last five years

Boating qualifications for which a valid licence is held
Excimple: USCG 100 Ton Licence

perated

Details of previous vessels owned and/or o
Example: 2005 40 ft Whitby Ketch, owned for 6 years

All losses In the past 10 years (whether insured or not), including
payment amounts and current status
Example; 2005, Hurricane Loss, $20,000 Paid, Closed

Details of al! criminal convictions and pleas of no contest

Raiders_UFO00052
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Renewal Questionnaire page 9 Concept Special Risks Ltd

Other Changes: When quoting your renewal, we have assurned that there have been no
changes te your policy during the current policy period. Hf there are any
othier changes sirice your original application form was submitted ta Us,
please give detalis below. if you are unsure whether any change might have
an influence upon the quotatian that we have provided you with, please
contact your broker for advice.

Misrepresentations: Any misrepresentation in this renewal questionnaire will render insurance
coverage null and void from inception. Please therefore check to make sure
that ali questions have been fully answered and that all facts material to
your insurance have been disclosed, if necessary by a supplement to this
questionnaire. 7/|

!
Print Name pit? Pyle
Date of Completion: . r of 2/10/%

For more information regarding Concept Special Risks Ltd, policy wordings, endorsement wordings,
standard forms and frequently asked questions, please see our website www. special- risks corn.

Assured's Signature:

Raiders_UF000053
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Policy Schedule

Policy Number:
Assured:

Assured’s Address:

Assured’s Agent:

Scheduled Vessel:

|

— (Concept Special Risks

CSRYP/171163
Raiders Retreat Realty Co., LLC

PO Box 549
Abington
PA 19001
USA

Hull & Company - Fort Lauderdale
1815 Griffin Rd, Suite 300

Dania Beach

FL 33004

Raiders, 1988 70' Viking with Detroit twin 900hp diesel engine,
VKY70101B888

Period of Cover:

from November 5, 2018 00.01 LST to November 5, 2019 00.01 LST

Cover and Respective Insured Limits:

Section
A Hull

(Named Windstorm Deductible)

Tender/Dinghy
Non-Emergency Towing
Tender 2
B Third-Party Liability CSL
Crew Liability Extension within CSL
Medical Payments
Uninsured Boaters
Trailer
Personal Property

“944 OM

Sum Insured Deductible
US$ 550,000 US$ 33,000
US$ 66,000

US$ 9,000 US$ 900
US$ 500 not applicable

US$ 9,000 US$ 900
US$ 1,000,000 US$ 500
US$ 1,000,000 US$ 2,500
US$ 10,000 US$ 100
US$ 550,000 not applicable
not covered not applicable
US$ 5,000 US$ 500

Total Premium:

Named Operators:

Laid Up Period:

US$ 9,691 cancelling returns only + US$ 35 Certificate Fee

In the event of cancellation by the Assured minimum of 25% of premium
deemed earned,

Philip Pulley; Kim Holt; Ruby Marrero; Benjamin Pulley; Miles Sheahan

None

Concept Special Risks Ltd
+44 (0) 1943 882 700 ~ www.special-risks.com

Unity House - 2 Station Court © Station Road Guiseley LEEDS « LS20 8EY - United Kingdom
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Policy Schedule CSRYP/171163 page 2

Navigational Limits:

Concept Special Risks Ltd

Warranted that the Scheduled Vessel is confined to East Coast USA,
Elorida and the Bahamas - not to exceed 150 miles offshore.

Insuring Agreement Wording:

As per SYP/8/PPO. Including liability to one paid crew within Combined
Single Limit.

Additional Warranties, Terms and Conditions:

Insurance Provider:
Loss Payee:

Signed:

Warranted that the Scheduled Vessel is not to navigate south of the Tropic
of Cancer July 1st to November 1st.

Great Lakes Insurance SE
Assured

Wednesday November 7, 2018

For and on behalf of Participating Underwriters/Insurers

Surplus lines insurers’ policy rates and forms are not approved by any Florida regulatory agency.

For more information regarding Concept Special Risks Ltd, policy wordings, endorsement wordings,
standard forms and frequently asked questions, please see our website www.special-risks.com.

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PRIVATE AND PLEASURE YACHT INSURING AGREEMENT

1. DEFINITIONS

‘You and your’ refer to the insured named on the declaration page and any person who possesses any
legal or beneficial interest in any corporation, trust or entity either declared as the owner of the

Scheduled Vessel or as an additional assured.

‘We, us and our’ refer to the insurers named on the declaration page or accompanying schedule of

insurers.

‘Covered person’ means you, and/or any person detailed on your application form which has been
submitted by you and approved by us, provided that person has been declared to us as an operator of

the Scheduled Vessel.

‘Scheduled Vessel’ means the vessel described on the declaration page, including machinery, electrical
equipment, sails, masts, spars, rigging, and all other equipment normally required for the operation and
maintenance of the vessel and situate on the Scheduled Vessel, which would normally be sold with the
vessel. This does not include spare parts of the Scheduled Vessel, the Schediiled Vessel's life raft, tender
or dinghy, unless the same has been declared on the declaration page, nor does it include any items
being stored on premises other than on-board the Scheduled Vessel.

Trailer refers to the Scheduled Vessel's trailer, used exclusively for that purpose.

Words of a masculine gender are deemed to encompass the female gender and vice versa. Words in the
singular are deemed to encompass the plural and vice versa.

‘Navigational limits’ means all waters as limited and shown on the declaration page unless mutually
agreed by us and amended in writing.

‘Salvage charges’ means those reasonable charges and expenses which are incurred by you if necessary
to prevent damage, injury or loss of life or to prevent or minimise any further loss or damage covered by

Section A of your insuring agreement,

‘Deductible’ is the first amount of any claim, which must be paid by you. If a deductible is applicable to
any section of your insuring agreement the amount will be shown on the declaration page and this

amount will be deducted from the amount payable on each admissible claim.

‘Bodily injury/property damage’ means bodily injury or property damage occurring during the period of
this insuring agreement arising from ownership and/or use of the Scheduled Vessel.

'Seaworthy’ means fit for the Scheduled Vessel’s intended purpose. Seaworthiness applies not only to
the physical condition of the hull, but to all its parts, equipment and gear and includes the responsibility
of assigning an adequate crew. For the Scheduled Vessel to be seaworthy, it and its crew must be
reasonably proper and suitable for its intended use.

‘Family’ means any person related to you by blood, marriage or adoption, including wards and foster
children.

‘Personal Property! means property purchased and owned by you, any covered person, any member of
your family, provided that such property is situated on the vessel insured hereunder at the time of the
loss, excluding any item that is deemed to be part of the Scheduled Vessel as defined in (d) above.

SYP/8/PPO Page 1 of 14
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n) ‘Race or speed trial’ means any event involving speed and/or of a competitive nature, including, but not
limited to, Regattas and/or Rallies. ‘Preparing for a race or speed trial’ means any navigation of the
vessel necessary to ensure eligibility of either you or your vessel to participate in a race or speed trial.

0) ‘Named Windstorm’ damage is damage relating to or resulting from a named windstorm or any
numbered tropical weather pattern from the time the named windstorm or numbered tropical weather
pattern impacts the area and until 72 hours later. The area of the named windstorm or tropical weather
pattern is an area encompassed by a circle of radius not exceeding 150 nautical miles from the path of

the storm's forward travel.

p) ‘Divers’ means any person using underwater artificial breathing apparatus, and/or submersible
mechanical or electrical device including, but not limited to, Submarines, Diving Bells and/or Diving Suits.

q) ‘Operate, Operation, Operating’ means to navigate or to be in physical contro! of or to be at the helm of
the Scheduled Vessel.

r) ‘Sinking’ means when the vessel has sunk as far as is physically possible for the vessel to sink, and is
totally submerged underwater.

s) ‘Constructive’ or ‘Compromised’ Total Loss means where we determine that either the reasonable cost of
repairs exceed the sum insured, or where the net value being the sum insured, less the residual value of
the Scheduled Vessel, is exceeded by or in our opinion is likely to be exceeded by the reasonable cost of
repairs.

t) ‘Agreed Value’ means the sum insured under Section A of the insuring agreement declaration page or
any endorsement to the same.

u) ‘Combined Single Limit’ (CSL) means the maximum amount we will pay towards any sum or sums that
you or any other covered person become legally liable to pay and shall pay as a result of any one
accident or occurrence arising from your operation of the Scheduled Vessel. If the insuring agreement
declaration page shows multiple liability limits, the maximum amount we will pay in total in respect of
any one accident or occurrence or series of accidents or occurrences arising from a single event, is
limited to the amount shown as the Combined Single Limit irrespective of the number of claims or
claimants arising from the said accident , occurrence or single event and in no circumstances shall there
be any aggregation of liability limits shown on the insuring agreement declaration page in excess of the
Combined Single Limit hereunder.

2. INSURING AGREEMENT

This is a legally binding insurance contract between you and us, incorporating in full the application form signed
by you. We will provide the insurance coverage described in this insuring agreement, in return for payment to
us of the premium due and compliance by covered persons with the provisions, conditions and warranties of
this insuring agreement.

3. Coverage A, Hull, Machinery, Equipment and Dinghy

lf @ sum insured is shown for Section A of the insuring agreement declaration page. we provide coverage for
accidental physical loss of, or accidental physical damage to the Scheduled Vessel which occurs during the
period of this insuring agreement and within the limits set out in the insuring agreement declarations page,
subject to the insuring agreement provisions, conditions, warranties, deductibles and exclusions.

Reasonable expenses incurred by you in attempting to minimise or mitigate a loss incurred and covered by this
insuring agreement will be paid by us whether successful or not. These will be paid in addition to the sum

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insured under Sections A and F. Our maximum liability for these expenses is 50% of the sum insured under
Section A of this insuring agreement less the deductible shown under Sections A and F.

if a sum insured is shown for “Non Emergency Towing” on the insuring agreement declaration page, this
represents the maximum amount per incident or event and for the duration of this policy, that we will pay in
respect of expenses incurred by you for such charges, where the Scheduled Vessel is in no immediate danger,
but are incurred in good faith to prevent loss or damage to the Scheduled Vessel.

We will pay salvage charges incurred by you in pursuance of ‘your duties in the event of a loss’ as set out in
Section 10 of this insuring agreement, up to the limit of the sum insured under Section A of this insuring

agreement less the deductible shown under Section A.

If the Scheduled Vessel shall come into collision with any other ship or vessel and you, in consequence thereof,
become legally liable to pay by way of damages to any other person or persons any amount not exceeding the
agreed value of the Scheduled Vessel hereby insured, we will reimburse you such amount paid, up to the agreed
value hereby insured, less the deductible shown under Section A.

In no case shall the foregoing clause extend to cover any amount you become legally liable to pay in respect of
removal of obstructions under statutory powers or for injury or damages to Harbours, Wharves, Piers, Stages
and similar structures consequent on such collisions, or in respect of the cargo or engagements of the insured
vessel or for loss of life or personal injury, or for loss of Income, value or otherwise of any olher vessel or
person. Inno case shall our maximum liability exceed the sum insured hereunder.

The deductible shown under Section A of the insuring agreement declaration page shall apply to each claim
under the insuring agreement except for claims for actual and/or constructive and/or compromised total loss of
the Scheduled Vessel. In the event of loss or damage arising from a named windstorm the deductible detailed

below shall apply.

Loss or damage to the Scheduled Vessel arising from a named or numbered windstorm shall be subject to a
deductible which shall apply to all claims, including actual and/or constructive and/or compromised total loss of
the insured vessel, equal to double the deductible as shown on the declaration page under Sections A and/or F

of the insuring agreement.
Exclusions to Coverage A

Unless specifically agreed by us in writing and additional premium charged the following losses and/or damages
(whether incurred directly or indirectly) are not covered by this insuring agreement:

a) Loss of or damage sustained by the Scheduled Vessel whilst being transported over land (whether by
trailer or other method of conveyance approved by us in writing), more than 250 miles from the narmal
place of storage, as disclosed within your application form.

b) Losses due to wear and tear, gradual deterioration, lack of maintenance, inherent vice, weathering,
insects, mould, animal and marine life.

C) Marring, scratching or denting of the hull and/or equipment of the Scheduled Vessel.

d) Osmosis, blistering or electrolysis.

e) Manufacturing defects or design defects, including latent defects.

f) Unrepaired damage claims if the Scheduled Vessel is subsequently deemed by us to be an actual or

constructive total loss, during the insuring agreement period.

g) Losses caused directly or indirectly by ice or freezing.

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Loss or damage caused intentionally by you and/or any member of your family.

Theft of the Scheduled Vessel and or its equipment whilst on a trailer unless the Scheduled Vessel is
situate in a locked and fenced enclosure or marina and there is visible evidence of forcible entry and or
removal made by tools, explosives, electricity or chemicals.

Your personal expenses or those of your family including but not limited to the, cost of your own labour,
hotel or accommodation costs, car rental and communication costs.

Losses caused by delay in repairs and/or loss of use and/or enjoyment of the Scheduled Vessel and/or
its equipment.

Loss and/or damage to sails, sail covers, external canvases, including but not limited to Bimini Tops,
arising from a named windstorm unless properly removed and stowed

Any loss of value of the Scheduled Vessel and/or its equipment as a result of repairs and/or
replacements being effected as a result of any claim hereunder.

Damage existing prior to the inception date of this insuring agreement, whether you are aware of the
same or otherwise.

Loss or damage to the Scheduled Vessel and/or its equipment where you have abandoned the
Scheduled Vessel without damage which would have resulted in a payable claim hereunder.

Loss of, or damage to the Scheduled Vessel as a result of any repair yard lien being enforced, including
but not restricted to the arrest or detention of the Scheduled Vessel by any repair yard.

The loss of or replacement of fuel or perishable goods that are on board the Scheduled Vessel at the
time of loss.

Damage to the Scheduled Vessel's engines, mechanical and electrical parts, unless caused by an
accidental external event such as collision, impact with a fixed or floating object, grounding, stranding,
ingestion of foreign object, lightning strike or fire.

4. Coverage B. Third Party Liability

If a sum insured is shown under Section B of the insuring agreement declaration page, we provide coverage for
any sum or sums which you or any other covered person become legally liable to pay and shall pay as a result of
ownership or operation of the Scheduled Vessel.

We will settle or defend as we deem appropriate any claims or suits brought against you, using attorneys of our
choice where we deem necessary. Our obligation to settle or defend all third party Jiability claims under this
insuring agreement ends when the amount we pay for damages, investigation costs, legal expenses and
removal of wreck equals the sum insured under this section of the insuring agreement.

The deductibles shown on the insuring agreement declaration page shall apply to each third party liability claim.

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Exclusions to Coverage B

Unless specifically agreed by us in writing and an additional premium paid, Liability cover is not provided for:

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Covered persons with regard to their liability to you, other covered persons, your spouse, other
members of your family or persons who reside in your household.

Your liability to other covered persons, your spouse, other members of your family or persons who
reside in your household.

Liability assumed by you under any contract or agreement.

Liability which arises while the Scheduled Vessel is being transported on its own trailer or otherwise,
except where the vessel is being hauled out or jaunched by a covered person.

Fines or penalties imposed by any Government agency.
Punitive or exemplary damages, however described.

Liability due to pollution by any substance whether it be gradual, or sudden and accidental except as
provided for in the Pollution Coverage Extension of this Insuring Agreement.

Intentional acts.

Bodily injury or death benefits which are required to be or are covered by any State or Federal Act or
Statute or any other compensatory statute.

Bodily injury or death benefit to any persons employed by a covered person, hired as crew or not.

Liability to persons being towed, or to be towed, or having been towed in the water or in the air, from
the time they commence to leave the Scheduled Vessel, until they are safely back on board, other than
that provided under limited extension of liability for water-skiing detailed in Coverage B Water Skiing
Coverage Limitation of Liability.

Liability to or for divers operating from the Scheduled Vessel, from the time they commence to leave the
Scheduled Vessel, until they are safely back on board.

Liability to fare paying passengers or passengers carried under charter.

Liability for damage to any marine estuary, artificial or natural reef, living or dead coral or other marine
organisms, caused by the vessel or its operators or passengers.

Loss or damage to any other vessel caused by the operation of the Scheduled Vessel in so far as the
same would have been covered under Section A of this insuring agreement.

Liabilities, medical expenses. costs. fees or any other related expense whatsoever arising out of illness or
injury in any way related to or caused by exposure to the sun or the sun’s rays either cumulatively or

suddenly.

Any claim arising from directly or indirectly caused by or associated with Human Immunodeficiency Virus
(HIV) or Lymphadenopathy Associated Virus (LAV) or the mutants derivatives or variations thereof or in
any way related to Acquired Immune Deficiency Syndrome or any syndrome or condition of a similar
kind howsoever it may be named.

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Coverage B, Water Skiing Coverage Limitation of Liability

Whilst the Insured vessel is being used for water skiing, the third party liability limits relating to this activity are

reduced to:
Property damage US $10,000
Bodily Injury US $10,000
Maximum any one incident US $20,000

These limits shall apply from the time any person or persons begin to leave the Scheduled Vessel, or such
activity commences, and will continue until the person or persons are safely back on board and such activity
ceases completely. All other terms, warranties, conditions, exclusions, remain unaltered and in effect save for

exclusion k) above.

Any amount recoverable hereunder shall form part of the maximum amount recoverable under Section B
Liability and within the Combined Single Limit.

Coverage B, Extension to include Crew Liability

Subject to our prior written agreement and your payment of an additional premium, we may at your request
extend this insuring agreement to cover any sum or sums you become legally liable to pay and shall pay to hired
crew resulting from injury, illness or death occurring whilst in the service of the Scheduled Vessel.

The maximum amount recoverable in respect of crew liability claims shall be the amount shown on the insuring
agreement declaration page and shall form part of the maximum recoverable under Section B, Third Party
Liability and within the Combined Single Limit. All other terms, warranties, conditions, exclusions remain
unaltered and in effect save for exclusion i) and j) above.

The deductible shown on the insuring agreement declaration page shall apply to each crew liability claim.

Coverage B, Extension to include Limited Pollution Coverage

It is hereby noted and agreed that in consideration of the additional premiums charged herein and
notwithstanding exclusion (g) Coverage B Third Party Liability, we agree to indemnify you for reasonable costs
incurred by you preventing or mitigating a pollution hazard or threat thereof resulting directly from damage to
the scheduled vessel, where coverage is afforded under this insuring agreement, provided always that such
pollution hazard or threat thereof:

a) Was sudden, unintentional and unexpected by you.

b) That the incident commenced during the period of this insuring agreement.

C) It became known to you within 72 hours of its commencement.

d) Was reported to us in writing not later than seven days after having become known to you.

e) Was not a result of your want of due diligence or thal or your managers, servants or agents to

prevent or mitigate such pollution hazard to threat thereof.
These reasonable expenses must be incurred within one year from the commencement of the incident giving

rise to a claim hereunder. Any amount recoverable hereunder shall form part of the maximum amount
recoverable under Section B Liability and within the Combined Single Limit.

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5. Coverage C, Medical Payments

Ifa sum insured is shown under Section C of the insuring agreement declaration page, we will pay reasonable
medical and/or funeral expenses necessary due to accidental bodily injury or death of third parties, incurred
whilst boarding, leaving or on-board the Scheduled Vessel insured under this insuring agreement. These
expenses must be incurred within one year from the date of the accident and will reduce any amount payable
under Section B of this insuring agreement, arising from the same occurrence.

This coverage will be in excess over any other applicable insurance.

Any sum insured under this section is our maximum liability for all claims arising from any one event, regardless
of the number of persons involved. Any payment made by us under this section is not an admission of liability

for you or by us.

The deductible shown on the insuring agreement declarations page shall apply to each claim made under this

section of the insuring agreement.
Exclusions to Coverage C

We do not provide medical payment coverage for:

a) Covered persons, their spouses, family or other persons who reside with them. Employees of covered
persons or anyone that is or should be covered under a State or Federal Act or Statute.

b) Responsibility assumed under any contract or agreement.

c) Anyone injured whilst the Scheduled Vessel is being transported, hauled out or launched.

d) Trespassers on the Scheduled Vessel.

e) Anyone to or for whom benefits are payable under any State or Federal Workers Compensation Act

including but not limited to State Workers Compensation Act, Federal Longshoreman's and Harbour
Workers Compensation Act or Federal Jones Act.

6. Coverage D, Uninsured Boaters

If a sum insured is shown under Section D of the insuring agreement declaration page, coverage is provided in
respect of sums which covered persons under this insuring agreement are legally entitled to recover from a
third party vessel owner or operator, but which cannot be recovered either because they have no marine
liability insurance and no realisable assets or they cannot be identified, such as a hit and run operator.

We will also pay any medical expenses incurred by your lawful guests and invitees (including members of your
family) as a result of any such incident giving rise to claim under this section

The deductible shown on the insuring agreement declaration page shall apply to each claim made under this

section of the insuring agreement.

The sum insured in respect of this coverage is our maximum liability for all uninsured boater claims regardless
of the number of people involved and the number of clairms made.

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Exclusions to Coverage D

We do not provide coverage for:

a) Claims settled without our prior written consent.

b) Loss due to an uninsured vessel which is a Government vessel.

c) Loss due to a vessel owned and/or operated by a covered person.

d) Loss where no physical damage to the Scheduled Vessel exists, evidencing collision,
e) Any loss or damage otherwise recoverable under this insuring agreement.

f) Bodily Injury, illness or death of any covered person.

g) Any loss otherwise excluded by any provision of this Insuring Agreement.

7. Coverage E, Trailer

If a sum insured is shown under Section E of the insuring agreement declaration page, we provide coverage for
accidental physical loss of or physical damage to the trailer if it is used exclusively for the transportation of the
Scheduled Vessel insured under this insuring agreement, up to the sum insured.

Claims will be paid up to the limit of the sum insured, on the basis of the actual cost of repairing or replacing the
trailer with a trailer of like kind and value. Depreciation due to age and wear and tear will be taken into account
in calculating claims under this insuring agreement.

Reasonable expenses incurred by you in atternpting to avert or minimise a loss covered by this insuring
agreement will be paid by us, whether successful or not. These will be paid in addition to the sum insured
under Section E without application of the insuring agreement deductible. Our maximum liability for such
expenses is the sum insured under Section E.

The deductible shown on the insuring agreement declaration page shall apply to each claim under the insuring
agreement except for claims for actual or constructive total loss of trailer and clairns for expenses incurred in
attempting to avoid or minimise a loss covered by the insuring agreement.

A deductible of 10% of the agreed value of the Scheduled Vessel trailer shall apply to each theft loss, including
total loss of the trailer. However a deductible of 5% of the agreed value of the trailer shall
apply to each theft loss, including total loss, provided the scheduled trailer is stored in a commercial storage

yard or marina that provides 24 hour security.

Exclusions to Coverage E

a) Damages sustained by the trailer whilst the Scheduled Vessel is being transported over land, more than
250 miles from the normal place of storage, unless specifically agreed by us in writing and an additional

premium paid.

b) Losses due to wear and tear, gradual deterioration, lack of maintenance, weathering, insects, mould
animal or marine life.

c) Marring, scratching or denting.

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d) Manufacturing defects or design defects, including latent defects.
e) Tyre damage.
f) Losses due to exceeding manufacturer's maximum load or speed specifications.

g) Your personal expenses or those of your family including but not limited to, cost of your own labour,
hotel or accommodation costs, car rental, communication costs.

h) Theft of the trailer unless the trailer is stolen from a locked and fenced enclosure or marina and there is
visible evidence of forcible entry or removal made with tools, explosives, electricity or chemicals.

8. Coverage F, Personal Property

If a sum insured is shown under Section F of the insuring agreement declaration page, we will cover direct loss
or damage to personal property from any accidental cause, whilst property is onboard, being loaded onto, or
unloaded from the Scheduled Vessel. Our maximum liability in respect of all claims arising from one event is the
amaunt af the stim insured and our maximum liability for any one item,

pair or set is US$1,000.

Fishing gear and tackle, unless permanently affixed to the Scheduled Vessel, is deemed personal property.

Claims will be settled on the basis of actual cash value of personal property, less the insuring agreement
deductible and any claim made hereunder shall be adjusted in accordance with general principles of average.
Where the sum insured is less than the overall actual cash value of the covered property situate on the
Scheduled Vessel, we will only pay claims in the ratio that such sum insured bears to the overall cash value of
the covered property situate on the Scheduled Vessel at the time of the covered loss.

Exclusions to Coverage F

We will not cover loss or damage to or in respect of

a) Money, jewellery, watches, travellers cheques or any form of paper of value, furs, china, glass,
silverware, antiques, collectibles or computer software.

b) Fishing gear or tackle which is permanently affixed to the Scheduled Vessel, unless the Scheduled Vessel
insured hereunder shall become an actual or constructive total loss, due to a covered loss.

c) Food and or perishable items, including any type of fuel

We will not cover losses due to:

a) Wear and tear, gradual deterioration, inherent vice, corrosion, damage due to changes in humidity or
temperature or mechanical or electrical failure.

b) Breakage of articles of a brittle nature unless caused by the Scheduled Vessel being stranded, sunk,
burnt, on fire, or in collision or by stress of weather, burglars or thieves.

c) Loss of water-skis or diving equipment, unless as a result of fire, or theft following forcible entry, or a
total loss of the Scheduled Vessel.

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Theft and or damage caused by theft unless there is visible evidence of forcible entry and removal made
by tools, explosives, electricity or chemicals.
9. General Conditions & Warranties

It is warranted that the Scheduled Vessel shall be used solely for private and pleasure purposes, and will
not be used for Charter, hire lease or any other commercial activity.

It is warranted that the Scheduled Vessel is seaworthy at all times during the duration of this insuring
agreement. Breach of this warranty will void this insuring agreement from its inception.

This insuring agreement incorporates in full your application for insurance and, together with any
endorsements issued herein constitutes the entire contract between us. At your request, various
provisions of this insuring agreement may be varied by us but only by our prior written agreement.

This insuring agreement does not cover any loss or damage which occurs after its expiration. However,
if you have been at sea in the Scheduled Vessel for at least 24 hours and this insuring agreement expires
other than due to cancellation, you may renew or reinstate the insuring agreement at such time as the
Scheduled Vessel arrives safely at its next port of call and for a further 24 hours provided that you
contact us during that 24 hours and make the necessary arrangements as may be required by us to
renew or reinstate the insuring agreement.

This insuring agreement may be cancelled by either you or us at any time, subject to 10 days prior
written notice. If itis cancelled by us, we will pay you a pro rata return of premium. If itis cancelled by
you, we shall pay you a short rate return of premium calculated at pro rata less 10%. However if a
reduced premium has been charged in consideration of a period of Jay up or an earned premium in
respect of an agreed extended voyage, the return premium will be calculated based upon the actual
activity of the scheduled vessel, and then pro rata or short rate applied. Cancellations due to sale of the
scheduled vessel or non-payment of premium, or non-payment of premium instalment to a premium
financier are deemed cancellations by you. All policy fees are deemed earned at the inception of the

policy.

If you sell or pledge the Scheduled Vessel or otherwise transfer ownership in part or in full, or give up
possession of the Scheduled Vessel, whether actual or otherwise, this insuring agreement is immediately
cancelled by your action unless you have our prior written agreement to the contrary.

In the event of an actual and/or constructive and/or compromised total loss under this insuring
agreement the annual premium is deemed fully earned by us.

if you have used a broker to effect coverage, it is hereby agreed that your brokers or any substituted
brokers (whether surplus line approved or otherwise), shall be deemed to be exclusively the agents of
you and not of us in any and all matters relating to, connected with or affecting this insurance. Any
notice given or mailed by or on behalf of us to the said brokers in connection with or affecting this
insurance, or its cancellation, shall be deemed to have been delivered to you.

We need not accept or pay for any property abandoned by you. At our option however we are entitled
to the salvage value of any property or equipment where we have settled a claim in full under this
insuring agreement, in respect of such property or equipment.

It is warranted that covered persons must at all times comply with all laws and regulations, governing
the use and or operation of the Scheduled Vessel. We shall not be deemed to provide cover or shall we
be liable to pay any claim or provide any benefit hereunder to the extent that the provision of such
cover, payment of such claim or provision of such benefit would expose us to any sanction, prohibition

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or restriction under United Nations resolutions or the trade or economic sanctions, laws or regulations
of the European Union, United Kingdom or United States of America.

If the Scheduled Vessel is fitted with fire extinguishing equipment, then it is warranted that such
equipment is properly installed and is maintained in good working order. This includes the weighing of
tanks once a year, certification/tagging and recharging as necessary.

If you give up your rights or our rights to recover damages from anyone who may be liable to you,
denying us the benefit of the right of recovery, payment of any admissible loss under this insuring
agreement shall be reduced by the amount we have been denied.

This contract is null and void in the event of non-disclosure or misrepresentation of a fact or
circumstances material to our acceptance or continuance of this insurance. No action or inaction by us

shall be deemed a waiver of this provision.

We will not pay for any loss resulting from i) radioactive contamination, or nuclear reaction ii) pollution
or contamination by any substance (other than to the extent provided for under extension of Section B
Limited Pollution Coverage) iii) war declared or not, civil war, insurrection, rebellion, revolution or the
consequences of any of these iv) capture, seizure, arrest, restraint or detainment by any government
power or authority, lawful or otherwise.

If we take steps to protect damaged or endangered property, this does not constitute acceptance of
abandonment of that property by us or acceptance of any claim as may be covered hereunder.

If any covered person has other insurance against risks covered by this insuring agreement, then this
insurance shall be in excess over all other valid and collectible insurances.

Unless we specifically agree in writing, and the appropriate endorsement is issued, this insurance does
not cover loss or liability incurred during a race or speed trial or during preparation for a race or speed
trial.

Unless we agree in writing to the contrary, if we request a survey of the Scheduled Vessel then it is
warranted that such survey is in existence prior to the effective date of this insurance and a copy of the
same must be received by us within 30 days of the effective date of this agreement. If the survey makes
any recommendations with respect to the Scheduled Vessel, then it is warranted that all such
recommendations are completed prior to any loss giving rise to any claim hereunder, by skilled
workmen using fit and proper materials and that either.

1) The surveyor who carried out the survey certifies in writing that all recommendations have been
completed to his (the surveyors) satisfaction prior to any loss and/or claim

Or,

2) The workmen/repair yard that carried out the said work and/or recommendations certifies in writing
that all recommendations have been completed prior to any loss and/or claim.
Failure to comply with this warranty will void this agreement from inception.

No suit or action on this Insuring agreement for the recovery of any claim shall be sustainable in any
court of law or equity unless the Assured shall have fully complied with all the requirements of this
Insuring agreement, nor unless commenced within one (1) year from the date of the happening or the
occurrence out of which the claim arose, provided that where such limitation of time is prohibited by the
laws of the state wherein this insuring agreement is issued, then, and in that event, no suit or action

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under this Insuring agreement shall be sustainable unless commenced within the shortest limitations
permitted under the laws of such State.

Where any term herein is referred to as a ‘warranty’ or where any reference is made herein to the word
‘warranted’, the term shall be deemed a warranty and regardless of whether the same expressly
provides that any breach will void this insuring agreement from inception, it is hereby agreed that any
such breach will void this policy from inception.

Where a lay-up ‘aid up period’ has been specified within the declaration page, it is warranted that the
Scheduled Vessel will not be used, navigated or utilised, in any manner whatsoever, during the dates so
specified. ‘Use’ includes, but is not restricted to, living on board the Scheduled Vessel,

The Scheduled Vessel shall be valued at the agreed valuation shown on the declaration page or on any
endorsement thereto issued by us. However the following items are subject to payment on the basis of
depreciated cash value less the applicable deductible .Depreciated cash value means replacement cost
less the annual percentage factor of depreciation shown as follows;

i) Internal and/or external paints, finishes, gelcoat or other covering - 10% per annum.
ii) Bottom paint including but not limited to anti-foul or barrier coat finishes- 50% per annum.
iii) Sails, standing and running rigging - 12.5% per annum.

iv) Internal and/or external protective covers, canvas, vinyl and other materials and their frames -
20% per annum.

v) _ tnternal and/or external upholstery, fabrics, wall coverings, carpets and rugs - 10% per annum.

vi) | Machinery including but not limited to engines, generators, water makers and waste systems - 7%
per annum.

vii} Outboard Motors - 20% per annum.

viii) Outdrives, propellers, shafts, rudders, struts, couplings, trim tabs, stabilisers - 20% per annum.

ix) Batteries and solar charging panels - 20% per annum.

x) Electrical equipment including but not limited to internal and external appliances, navigational
aids, depth sounders, winches, pump motors and electric deck gear - 10% per annum.

xi) Mast and spars - 5% per annum.

xii)  Stanchions and lifelines - 10% per annum.

xiii) Inflatable tenders, dinghies or life rafts - 12.5% per annum.

xiv) Harp FRP, composites, aluminium or wood tenders, dinghies or life rafts - 10% per annum.

The cost of dry docking and/or lay-days shall be adjusted in accordance with the required time to
complete the repair of covered losses.

However in no event shall the depreciated value be less than 20% of the replacement cost. Reasonable
labour costs to repair or replace the damaged items following a recoverable claim shall be payable in full
subject always to the applicable deductible.

If the hull is made in whole or in part of plywood, fibreglass, metal or other material of similar nature its
repair shall be made by applying suitable patches to the damaged hull area in accordance with generally
accepted good repair practice. This insuring agreement does not cover the cost or expense of painting
or impregnating colour beyond the immediate damaged area or areas.

We have the right to either pay you the reasonable costs of repairs of your vessel or we will declare your
vessel a constructive total loss. Where we have paid the agreed value of your vessel to you as arresult of
our declaring the Scheduled Vessel a constructive total loss, you will, at our request, transfer title to the
Scheduled Vessel either to us or to our designated or named nominee. We will provide you with the
option to retain title to the Scheduled Vessel should you match or better the highest bid to purchase the

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vessel that we receive. We may offset any claim payment due to you against such sum due should you
retain title to the Scheduled Vessel in accordance with the above.

It is warranted that the Scheduled Vessel will be operated only by covered persons. However, in the
event of an incident occurring when the vessel is being operated by any person other than a covered
person that may give rise to a claim under this insurance, you have a period of seven days following
such an incident to submit details of the operator for retroactive approval by underwriters, such
approval not to be unreasonably withheld.

Where you are entitled to limit your liability to third parties the maximum recoverable under Section 4
Coverage B, third party liability herein, is the amount you become legally liable to pay or the limit of
coverage shown under Section B of the insuring agreement declaration page, whichever is the lesser

amount.

Where two or more insurers subscribe to this insurance their obligations are several and not joint and
are limited solely to the extent of their individual subscriptions. The insurers in such circumstances are
not responsible for the subscription of any co subscribing insurer who for any reason does not satisfy all
or part of its obligations hereunder.

10. Your Duties In The Event Of A Loss

immediately take all possible steps to minimise the loss and protect the Scheduled Vessel from further
loss. Failure to do so may invalidate your insurance coverage or reduce the amount of any claim
hereunder. —,

Within 30 days of a loss giving rise to any claim hereunder give us written notification of the loss and its
circumstances, this term is a condition precedent to our liability hereunder.

Comply with any reasonable request made of you, by us with regard to the loss.
Advise the Police, Coast Guard, or any appropriate authority of the loss and its circumstances.
Give us an opportunity to examine the damaged property before it is repaired or discarded.

Submit a claim form and/or statement describing the loss, together with two estimates of repair cost
and/or records to substantiate the amount of the loss.

Neither assume obligation, nor admit liability without our written permission to do so.
Immediately forward to us any legal papers or notices received in connection with the loss.

Cooperate with us in the investigation, defence or settlement of any loss and agree to be examined
under oath if we so request.

Allow examination by physicians of our choice.

Assist us in obtaining copies of medical records and reports.

Give us a notarised statement or statutory declaration if we so request.

Give us a proof of loss and discharge of liability once the amount of the claim under this insuring
agreement has been agreed with you.

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14) Preserve any right of recovery from others. When we pay a loss, your right to recover becomes ours up
to the amount of our payment together with any legal fees and expenses. You must also co-operate
with us to recover the losses we may pay. Any amounts recovered from others belong to us up to the
amount of our payment together with any legal fees and expenses.

11. Service of Suit, Choice of Law And Forum

It is hereby agreed that any dispute arising hereunder shall be adjudicated according to well established,
entrenched principles and precedents of substantive United States Federal Admiralty law and practice
but where no such well established, entrenched precedent exists, this insuring agreement is subject to
the substantive laws of the State of New York.

It is also hereby agreed that any dispute arising hereunder shall be subject to the exclusive jurisdiction of the
Federal courts of the United States of America , in particular, the Federal District court within which you the
Assured resides or the Federal District court within which your insurance agent resides.

It is further agreed that:
a) the Assured may serve process upon any senior partner in the firm of:

Mendes & Mount, LLP
750 7th Avenue
New York, NY 10019

and that in any suit instituted against any one of them upon this contract the Underwriters will abide by
the final decision of the Court or any Appellate Court in the event of an appeal.

b) The above named are authorised and directed to accept service of process on behalf of Underwriters in
all such suits and/or upon request of the Assured to give written undertaking to the Assured that they
will enter a general appearance upon the Underwriter's behalf in the event such a suit shall be instituted.

c) Further, pursuant to any Statute of any State, Territory or District of the United States of America which
makes provision therefore, Underwriters hereby designate the Superintendent, Commissioner or
Directors of Insurance or any other officer specified for that purpose in the statute, or his successor or
successors in office (The Officer) as their true and lawful attorney upon whom may be served any lawful
process in any action, suit or proceeding instituted by or on behalf of the Assured or any beneficiary
hereunder arising out of this contract of insurance, and hereby designates the above named as the
person to whom the Officer is authorised to mail such process or true copy thereof.

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